TABLE OF CONTENTS

Introduction ........................................................................................... 3

Initial Summary ....................................................................................... 4
Statement of Probable Cause ........................................................................ 6
HUTSON, April Shannon ........................................................................... 6
AMOS, Phyllis Ann ................................................................................... 19
COSBY, Daniel Anthony ............................................................................ 19
RCARK, Roby Kevin .............................................................................. 21
COX, Matthew Lee ................................................................................. 23
LEONARD, Jonathan Trenton ..................................................................... 23
STILTNER, Nathan Charlie ....................................................................... 28
TUELL, Brandi Lynnay ............................................................................ 28
SNYPES, Joshua Lee ............................................................................... 31
PARKS, Robert Allen .............................................................................. 32
PARKS, Kari Nicole ................................................................................ 33
TESTER, Michael Dale ............................................................................ 37
TAYLOR, Michael Anthony ...................................................................... 39
BRANCH, Matthew Allen ......................................................................... 40
LEONARD, Lloyd Earl ............................................................................ 41

WHITE, Bobby Lee ................................................................................. 42
HOWELL, Jeffrey J ames ........................................................................... 46
HILTON, Ryan C .................................................................................... 49
CROSS, Randall William .......................................................................... 53

HUTSON, Rhonda Kaye ........................................................................... 56

STILTNER, John Raymond, Jr .................................................................... 62
STEVENS, Gordie Lee ............................................................................. 65
HILLIARD, Raymond Stanley .................................................................... 66
HILLIARD, April Dawn ........................................................................... 66
PROFFIT, Bryan Keith ............................................................................. 71
HENSLEY, Chuck Allen ........................................................................... 73
KINCER, Brandon D ............................................................................... 73
NELSON, Robert Henry III ........................................................................ 74
JARRETT, Carrie Evelyn .......................................................................... 75

HUTSON, Samuel Swayne ........................................................................ 75
SMITH, Isaac Andrew .............................................................................. 78
BULLEN, Shawn Michael ......................................................................... 80
FRAZIER, Joshua Adam ........................................................................... 81

WIGGS, Nikki D .................................................................................... 82

CARNETT, Ladonna Renee ....................................................................... 83

CUTSHAW, Whitney Lashea ..................................................................... 84
Cooperating Sources ................................................................................ 85

Telephone Toll Analysis ........................................................................... 85

Case 1:10-Cr-00002-.]P.]-PI\/|S Document 3-1 Filed 01/11/10 Page 1 of 39 Pageid#: 2006

lN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF VIRGINIA

Abingdon Division
IN THE MATTER OF THE ARRESTS ) UNDER SEAL
OF APRIL SHANNON HUTSON, )
Et al ) Case No.
)

AFFIDAVIT IN SUPPORT OF
APPLICATION FOR ARREST WARRANTS

I, Todd A. Brewer, Special Agent, United States Department of Justice, Drug
Enforcement Administration, being duly sworn, do depose and state as follows:

I am a Special Agent for the United States Drug Enforcement Administration (DEA) and
have been so employed for approximately twelve (12) years. Prior to my employment with the
DEA, I was a police officer for the Prince William County Police Department in Northem
Virginia for approximately four (4) years. Prior to my employment with the PWCPD, l was a
Deputy Sheriff with the Loudoun County Sheriffs Offlce in Loudoun County, Virginia for
approximately one (l) year.

I was trained as a DEA Special Agent at the DEA/FBI Academy in Quantico, Virginia.
During my time training in Quantico, I received specialized training in the Controlled Substances
Act, Title 21, United States Code, including, but not limited to Sections 841 (a)(l) and 846
(Conspiracy and Controlled Substance Violations), criminal organizations engaged in
conspiracies to manufacture and/or possess with intent to distribute cocaine, heroin,
methamphetamine, marijuana and other dangerous drugs prohibited by law, search and seizure
law, and many other facets of drug law enforcement

During my employment as a DEA Special Agent, I have participated in numerous
investigations involving the seizure of the above listed controlled substances, the seizure of
narcotic related records and other types of evidence that document a criminal organizations’
activities in both the manufacturing and distribution of controlled substances.

To successfully conduct these investigations, I have utilized a variety of investigative
techniques and resources, including physical and electronic surveillance and various types of
informants and cooperating sources. Through these investigations, my training and experience,
and conversations with other experienced Agents and law enforcement personnel, I have become
familiar with the methods used by traffickers to smuggle and safeguard narcotics, to distribute
narcotics, and collect and launder related proceeds. l am aware of the sophisticated tactics they
routinely use to attempt to thwart any investigation of their narcotics organizations My

Case 1:10-Cr-00002-.]P.]-PI\/|S Document 3-1 Filed 01/11/10 Page 2 of 39 Pageid#: 2007

knowledge of these tactics, which include the utilization of numerous different cellular
telephones, beepers, counter surveillance, elaborately planned distribution schemes tied to
legitimate businesses, false or fictitious identities, and coded communications and conversations,
has been particularly useful and relevant to this investigation.

The information contained in this affidavit is based on my personal observations,
observations of other law enforcement officers, observations of Cooperating Sources (CS) as
related to me, my review of official police and government reports, and consultation with other
Agents involved in the investigation

This affidavit is submitted in support of a request that a complaint and arrest warrant(s)
be issued for the following person(s) for violations of Title 21, United States Code, Section 846,
Conspiracy to Possess with the Intent to Distribute Cocaine, Cocaine Base, and OxyContin:

Persons

a) HUTSON, April Shannon (AKA April Shannon CROSS, April Shannon PARKS,
April Shannon ROARK, April S. SNYPES), DOB 12/31/ 1969

b) AMOS, Phyllis Ann (AKA Phyllis HUTSON, Phyllis BARKER, Phyllis
MUTTER), DOB 04/28/ 1947

c) COSBY, Daniel Anthony, DOB 04/08/ 1972

d) ROARK, Roby Kevin, DOB 04/ 15/ 1978

e) COX, Matthew Lee, DOB 03/20/ 1982

f) LEONARD, Jonathan Trenton, DOB 09/21/ 1974

g) STILTNER, Nathan Charlie, DOB 05/30/198]

h) TUELL, Brandi Lynnay, DOB 03/04/ 1984

i) SNYPES, Joshua Lee, DOB 02/02/ 1991

j) PARKS, Robert Allen, DOB 11/01/1988

k) PARKS, Kari Nicole, DOB 06/ l4/ 1986

l) TESTER, Michael Dale, DOB 11/05/ 1978

m) TAYLOR, Michael Anthony, DOB 05/17/ 1972

n) BRANCH, Matthew Allen, DOB 07/ 18/ 1981

o) LEONARD, Lloyd Earl (AKA “CORKY”), DOB 01/30/ 1977

p) WHITE, Bobby Lee, DOB 11/06/ 1957

q) HOWELL, Jeffrey James, DOB 03/ 13/ 1979

r) HILTON, Ryan C., DOB 01/31/ 1972

s) CROSS, Randall William (AKA Randy CROSS, Randy PARKS), DOB
07/ 10/ 1986

t) HUTSON, Rhonda Kaye (AKA Rhonda Kay SHAFFER), DOB 12/ 10/ 1967

u) STILTNER, John Raymond, Jr. (AKA “JUNIOR”), DOB 03/07/ 1975

v) STEVENS, Gordie Lee, DOB 10/13/ 1954

w) HILLIARD, Raymond Stanley, DOB 05/20/ 1954

x) HILLIARD, April Dawn, DOB 02/ 16/ 1975

y) PROFFITT, Bryan Keith, DOB 11/29/ 1961

z) HENSLEY, Chuck Allen, DOB 09/06/ 1974

aa) KINCER, Brandon D., DOB 04/02/ 1989

Case 1:10-Cr-00002-.]P.]-PI\/|S Document 3-1 Filed 01/11/10 Page 3 of 39 Pageid#: 2008

bb) NELSON, Robert Henry, III, DOB 01/ 16/ 1958
cc) JARRETT, Carrie Evelyn, DOB 10/22/ 1988
dd) HUTSON, Samuel Swayne, DOB 01/29/ 1973
ee) SMITH, Isaac Andrew, DOB 05/05/ 1982

ff) BULLEN, Shawn Michael, DOB 05/01/ 1983
gg) FRAZIER, Joshua Adam,y DOB 06/ 17/ 1982

hh) WIGGS, Nikki D., DOB 02/08/ 1981

ii) CARNETT, Ladonna Renee, DOB 12/07/ 1976
jj) CUTSHAW, Whitney Lashea, DOB 01/06/ 1988

INTRODUCTION

The HUTSON family has resided in the areas of Bristol, Bluff City, and Blountville, TN
for decades. Shannon, Rhonda, and Sam HUTSON were raised by their mother, Phyllis AMOS
in Hickory Tree (Bristol), TN. As young adults, Shannon, Rhonda and Sam HUTSON were all
involved in the distribution of small amounts of marijuana and cocaine.

Shannon HUTSON has been “married” to several individuals, including Freddie Parks,
Billy Cross, Kevin ROARK, and Matt COX. HUTSON has at least three (3) children including
Kari PARKS, Robert PARKS, and Josh SNYPES, all of whom are adults. Kevin ROARK, Matt
COX, Kari PARKS, Robert PARKS, and Josh SNYPES have all been distributors of cocaine and
OxyContin for HUTSON, Additionally, all three (3) of HUTSON’s children are drug abusers.

Rhonda HUTSON is currently residing with Junior STlLTNER, and has a son, Randy
CROSS (AKA Randy PARKS) living with her. Rhonda HUTSON and Junior STILTNER
distribute cocaine and OxyContin in partnership with Shannon HUTSON, as well as on their
own. Rhonda HUTSON and STILTNER utilize a business, Mid-South Seamless Guttering,
through which they distribute drugs and launder drug proceeds for the organization Randy
CROSS and Nathan STILTNER (cousin of Junior STILTNER) are drug users who also
distribute for the organization to support their habits.

Sam HUTSON is a crack cocaine and methamphetamine user who has been a distributor
for both Shannon and Rhonda HUTSON. Sam HUTSON’s habit caused him to steal from his
sisters, thus being cut off from the organization Prior to his latest arrest, Sam HUTSON was
being supplied by Raymond HILLIARD, a distributor for Rhonda HUTSON and Junior
STILTNER.

Phyllis AMOS, mother of Shannon, Rhonda, and Sam HUTSON and grandmother of
Kari PARKS, Robert PARKS, J osh SNYPES, and Randy CROSS, was arrested in October of
2005 after providing cocaine to Raymond HILLIARD. AMOS was arrested in possession of
almost ‘/z kilogram of cocaine, over two (2) pounds of marijuana, and over $54,000.00 in U.S.
Currency. Sources of information have revealed that the cocaine with which AMOS was
arrested belonged to Shannon HUTSON.

Case 1:10-Cr-00002-.]P.]-PI\/|S Document 3-1 Filed 01/11/10 Page 4 of 39 Pageid#: 2009

INITIAL SUMMARY

In October, 2007, David TRIVETT was arrested as the result of a buy/bust operation
conducted by the DEA, ATF, Virginia State Police, Bristol, VA Police Department, Sullivan
County Sheriff’ s Office, and the 2"°l Judicial District Drug Task Force (Sullivan County, TN).
TRIVETT delivered over ‘/z kilogram of cocaine to a Cooperating Source (CS) in Bristol, VA.
TRIVETT was armed with a handgun at the time of his arrest.

Subsequent to his arrest, TRIVETT was interviewed in Abingdon, VA. TRIVETT stated
that his source of supply for cocaine was Shannon ROARK, subsequently identified as April
Shannon HUTSON, TRIVETT attempted to re-establish contact with HUTSON while working
for law enforcement, but HUTSON was not receptive of TRIVETT following his arrest.
HUTSON refused to deal with TRIVETT, writing off the $13,000.00 that he owed to her for the
‘/z kilogram of cocaine,

A telephone toll analysis was performed on the cellular telephone of Shannon HUTSON,
which was provided by TRIVETT (saved as “C Girl” in his cell phone). This analysis
discovered multiple links with ongoing DEA cases out of Johnson City, TN and Greensboro,
NC. The Johnson City case involved Tony Trivette and his methamphetamine distribution
organization which was supplied by Mexicans out of North Carolina. The Greensboro case
involved the distribution of cocaine supplied by Mexicans out of Atlanta, GA. Additional links
were made between HUTSON’s cellular telephone and DEA cases in Columbus, Boston,
Raleigh, Charlotte, Philadelphia, Richmond, and New York.

In December, 2007, Gordie STEVENS was interviewed in Bristol, TN. STEVENS stated
that he had been selling cocaine since 2003. STEVENS stated that he began by purchasing
ounces at a time from Rhonda HUTSON. STEVENS stated that Rhonda HUTSON was supplied
cocaine by her sister, Shannon HUTSON. STEVENS stated that after Rhonda HUTSON was
released from jail in 2005, he obtained 20 ounces of cocaine per week from her for
approximately six (6) months. STEVENS stated that on one occasion, the 20 ounces was cut
straight off of a full kilogram which was wrapped in plastic cellophane and brown tape.
STEVENS stated that the kilogram of cocaine was stamped with an eagle.

In March, 2008, Paul Thomas was shot and killed by a Sullivan County Deputy after
attempting to hit the deputy with a vehicle. Seized from Thomas’ vehicle was approximately one
(l) ounce of cocaine and three (3) cellular telephones, one of which contained drug related text
message communications with Kari PARKS. Agents later discovered that Thomas Was one of
PARKS’ main distributors of cocaine, as well as a distributor of cocaine for Rhonda HUTSON
and Junior STILTNER.

In April, 2008, the Derrick Evans Drug Trafficking Organization was dismantled in the
Western District of Virginia, eventually resulting in the arrests of fifty-one (51) defendants CS-
3, CS-6, and CS-12, all co-defendants in that case, provided information regarding the
distribution of cocaine that was obtained from Kari PARKS. It was eventually discovered that
Oedipus Mumphrey, a source of supply for Derrick Evans, was also a source of supply of
cocaine for Rhonda HUTSON.

Case 1:10-Cr-00002-.]P.]-PI\/|S Document 3-1 Filed 01/11/10 Page 5 of 39 Pageid#: 2010

In May, 2008, Chucky HENSLEY was interviewed in Blountville, TN. HENSLEY
stated that he was the live-in boyfriend of Rhonda HUTSON for approximately six (6) months.
HENSLEY stated that during the time they were together, Rhonda HUTSON sold approximately
one (1) kilogram of cocaine per week. HENSLEY stated that Rhonda HUTSON was supplied
cocaine by her sister, Shannon HUTSON. HENSLEY stated that Shannon HUTSON obtained
approximately five (5) to ten (lO) kilograms of cocaine every two (2) to three (3) weeks.
HENSLEY stated that Shannon HUTSON began selling cocaine approximately five (5) to six (6)
years ago. HENSLEY stated that he personally observed Rhonda HUTSON in possession of one
(1) kilogram of cocaine, HENSLEY stated that Rhonda HUTSON also sold prescription pills
she obtained out of New York and marijuana she obtained from Florida.

HENSLEY stated that he and Rhonda HUTSON began a business together called Mid-
South Seamless Guttering, which was run from HUTSON’s residence. HENSLEY stated that
HUTSON used drug proceeds (cash) to purchase materials and tools for the business.
HENSLEY stated that HUTSON began the company for the purpose of covering up all the drug
traffic coming to and from the house.

In January, 2009, Raymond HILLIARD was arrested in Blountville, TN in possession of
approximately ‘/z ounce of cocaine. HILLIARD stated that he entered the “drug business” in
2005 when he met Junior STILTNER. HILLIARD stated that he picked up cocaine at the
residence of Rhonda HUTSON two (2) or three (3) times a month, and at the residence ofNathan
STILTNER one (l) or two (2) times a month, HILLIARD stated that Junior STILTNER wanted
him to sell more cocaine, but HILLIARD was apprehensive as he did not want to get caught.

In March, 2009, Daniel Anthony COSBY was arrested in Johnson City, TN in possession
of approximately 150 dosage units of 80 mg OxyContin, 812,810.00 U.S. Currency, and three (3)
handguns. COSBY stated that he had been purchasing approximately 200 dosage units of 80 mg
OxyContin biweekly from Shannon HUTSON for approximately one (1) to 1‘/2 years,
310,000.00 per transaction COSBY stated that HUTSON had told him that she used to sell
kilograms of cocaine, making $40,000.00 per week profit. COSBY stated that he believed that
HUTSON’s source of supply for cocaine was arrested, so she had to concentrate her efforts more
toward the distribution of pills. COSBY stated that HUTSON was supplied pills from sources
out of New York and Michigan

In April, 2009, Lloyd LEONARD was interviewed in Bristol, VA. LEONARD stated
that he purchased cocaine from Kari PARKS. LEONARD stated that PARKS was a cocaine
distributor for her mother, Shannon HUTSON. LEONARD stated that every time PARKS ran
out of cocaine and needed more, she made the statement, “Gotta go see my mom.”

In June, 2009, Shannon HUTSON and Jonathan LEONARD were arrested in Kingsport,
TN in possession of 1,827 dosage units of 80 mg OxyContin, 1,333 dosage units of Lortab, and
$7,280.00 U.S. Currency. Surveillance had observed them meet with Vincent Meyers, who was
operating a pickup truck with a Michigan registration A traffic stop conducted on Meyers
resulted in the seizure of $75,220.00 U.S. Currency in a brown bankers bag, the key to which
HUTSON had in her possession

In September, 2009, CS-30 was interviewed in Abingdon, VA. CS-30 stated that in early

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 6 of 39 Pageid#: 2011

2009, he/she drove Rhonda HUTSON to New York on two (2) occasions and Jacksonville, FL
once. CS-30 stated that upon their return from Florida, CS-30 overheard HUTSON and Junior
STILTNER discussing 2,000 OxyContins. CS-30 stated that he/she observed a large amount of
pills and several stacks of U.S. Currency contained within a safe located outside of HUTSON’s
bedroom. CS-30 stated that he/she realized that HUTSON had used him to transport the pills
back from Florida.

In November, 2009, Ladonna CARNETT was arrested in possession of approximately
1,173 dosage units of OxyContin while operating a vehicle registered to April (Shannon)
HUTSON. CARNETT stated that she had obtained the OxyContin somewhere in Michigan

Telephone tolls were obtained by way of Administrative Subpoenas and Pen Registers
through ajoint effort by DEA and the Tennessee Bureau of Investigation (TBI). Search
Warrants were served on several cellular telephone companies for text message communications
between members of the organization Telephone calls were monitored from the Sullivan
County Jail and the Bristol City Jail that helped outline the relationships between various
members of the organization Throughout 2009, numerous surveillances and undercover
operations were attempted to gain additional intelligence into the organization Utilizing all of
these investigative techniques allowed agents not only to identify the full scope of the
organization, but also to witness the transformation of a Cocaine distribution organization into a
Poly-Drug distribution organization

Since the initiation of this investigation over (2) years ago, many members of the
Shannon HUTSON Drug Trafficking Organization have been incarcerated on drug charges. The
majority of these members fear retribution from the HUTSON family and therefore refuse to
fully cooperate. Several members have provided detailed information regarding the day to day
operations of the family, but cannot or will not act on the behalf of law enforcement, This
affidavit includes information provided by these defendants as well as Cooperating Sources,
Sources of Information and law enforcement officers familiar with the organization

STATEMENT OF PROBABLE CAUSE
SUBJECTS

April Shannon HUTSON (AKA April Shannon ROARK, April Shannon CROSS, April
Shannon PARKS, April Shannon SNYPES)

On October 16, 2007, David Wayne TRIVETT was arrested in possession of over ‘/z
kilogram of cocaine and a handgun On October 26, 2007, TRIVETT was interviewed by DEA
SA Todd Brewer and DEA TFO Mike Baker. TRIVETT stated that the supplier of the cocaine
with which he was arrested was Shannon ROARK. TRIVETT stated that ROARK was formerly
married to Kevin ROARK, and that her maiden name was HUTSON. TRIVETT stated that
HUTSON had supplied him with at least ‘/z kilogram of cocaine each month for approximately
two (2) years. TRIVETT stated that he owed HUTSON $13,000.00 for the 1/2 kilogram with
which he was arrested. TRIVETT stated that HUTSON was a single mom supporting two (2)

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 7 of 39 Pageid#: 2012

children with the sales of cocaine,

On December 17, 2007, Gordie Lee STEVENS was interviewed in Bristol, TN.
STEVENS stated that he had been obtaining large amounts of cocaine from Rhonda HUTSON
for years. STEVENS stated that Rhonda HUTSON’s source of supply for cocaine was her sister,
Shannon HUTSON,

On February 8, 2008, CS-4 was interviewed in Bristol, TN. CS-4 stated that
approximately three (3) years ago, he/she had an affair with Kari PARKS. CS-4 stated that
he/she purchased small amounts of cocaine from PARKS during their relationship. CS-4 stated
that PARKS informed him/her that her mom, Shannon HUTSON, and her aunt, Rhonda
HUTSON, were her (PARKS’) cocaine suppliers. CS-4 stated that during his/her relationship
with PARKS, he/she learned that Shannon HUTSON obtained a “few” kilograms of cocaine at a
time. CS-4 stated that he/she was present at the trailer of Bobby NELSON when HUTSON
delivered cocaine to NELSON, CS-4 stated that he/she observed HUTSON deliver one (l) kilo
to NELSON on one (1) occasion, and ‘/z kilo to NELSON on another occasion CS-4 stated that
he/she observed a stamp on the ‘/z kilo, but did not recall what it was. CS-4 stated that the ‘/z kilo
was wrapped in brown plastic and tape.

On February 26, 2008, Matthew BRANCH was interviewed in Bristol, TN. BRANCH
stated that from June, 2007 to December, 2007, he was the live-in boyfriend of Kari PARKS.
BRANCH stated that he lived on Neeley Dr. in Blountville, TN with PARKS and her mother,
Shannon HUTSON. BRANCH stated that he was with PARKS everyday while she distributed
cocaine to her customers. BRANCH stated that every night he helped PARKS count the days’
proceeds which usually added up to $7,000.00 to $8,000.00. BRANCH stated that PARKS
purchased the cocaine from HUTSON for $800.00 per ounce and sold it for $l,100.00 per ounce.
BRANCH stated that he personally observed HUTSON take delivery of kilograms of cocaine at
her residence from Hispanic males. BRANCH stated that three (3) Hispanic males arrived in
three (3) separate vehicles. BRANCH stated that only one (1) Hispanic male entered the
residence carrying the cocaine under his clothing. BRANCH stated that HUTSON and the
Hispanic male consummated the transaction in the kitchen of the residence. BRANCH stated
that the Hispanic male departed the residence carrying a Food City bag full of U.S. Currency.
BRANCH stated that the kilos of cocaine were in brick form, wrapped in green tight wrap and
duct tape. BRANCH stated that the bricks of cocaine were stamped with stars or hearts.
BRANCH stated that HUTSON took delivery of cocaine from the Hispanic males one (l) to
three (3) times a week, one (l) to two (2) kilograms at a time.

On March 13, 2008, Carrie Evelyn JARRETT was interviewed in Bristol, TN.
JARRETT stated that in 2006, she drove Bobby NELSON to the residence of Shannon
HUTSON to pick up '/2 ounce of cocaine. JARRETT stated that NELSON informed her that he
was paying HUTSON $l,100.00 per ounce of cocaine. JARRETT stated that she was present
between October and December, 2007 when HUTSON made approximately 25 deliveries to
NELSON at his residence. JARRETT stated that during this time period, NELSON obtained
approximately 15 to 20 ounces of cocaine from HUTSON. JARRETT stated that on one
occasion, HUTSON called NELSON to tell him that she would be out of town and she was
leaving the cocaine with Kari (PARKS).

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 8 of 39 Pageid#: 2013

On April 19, 2008, Robert PARKS called Shannon HUTSON from the Sullivan County
Jail. HUTSON told PARKS that she was picking Scott (Last Name Unknown) up to go and get
her money. HUTSON told PARKS that she was ready for Kari (PARKS) and J osh (SNYPES) to
move out because they were stealing pills.

On May l4, 2008, Chucky HENSLEY was interviewed in Blountville, TN. HENSLEY
stated that he was the live-in boyfriend of Rhonda HUTSON from November, 2006 to March,
2007. HENSLEY stated that during the time they were together, Rhonda HUTSON sold
approximately one (l) kilogram of cocaine per week, HENSLEY stated that Rhonda HUTSON
received approximately ten (10) ounces of cocaine at a time from her sister, Shannon HUTSON.
HENSLEY stated that at times, Rhonda HUTSON obtained 15 to 20 ounces of cocaine from
Shannon HUTSON. HENSLEY stated that Shannon HUTSON charged Rhonda HUTSON
$8,500.00 for ten (10) ounces of cocaine, but sometimes the price fluctuated as high as $l,000.00
to $1,200.00 per ounce.

HENSLEY stated that Shannon HUTSON obtained approximately five (5) to ten (10)
kilograms of cocaine every two (2) to three (3) weeks. HENSLEY stated that HUTSON began
selling cocaine approximately five (5) to six (6) years ago. HENSLEY stated that the amount of
cocaine had steadily progressed over the years. HENSLEY stated that he had overheard
conversations between Shannon and Rhonda HUTSON regarding large amounts of money
needed to replenish their supply of cocaine. HENSLEY stated that he helped Rhonda HUTSON
count between $50,000.00 and $60,000.00 every two (2) to three (3) weeks during their
relationship (approximately one year).

HENSLEY stated that Shannon HUTSON, Rhonda HUTSON, and Kari PARKS utilized
several different cellular telephones to communicate. HENSLEY stated that Shannon and
Rhonda HUTSON utilized the text messaging service on their cell phones to communicate.

On May 29, 2008, Bobby NELSON called Shannon HUTSON from the Sullivan County
Jail. During the telephone call, HUTSON participated in a conversation with an unknown male
in the background of the call. HUTSON stated to the unknown male that she needed her money
for all that because she was going out of town HUTSON told the unknown male that she
needed the money that night.

On June 3, 2008, Bobby NELSON called Shannon HUTSON from the Sullivan County
Jail. NELSON told HUTSON that he and Sam HUTSON were in the same cell. Shannon
HUTSON told NELSON to tell Sam HUTSON to sign his property over to her, as the money he
had belonged to her.

On June 3, 2008, Sam HUTSON called Shannon HUTSON from the Sullivan County
Jail. Sam HUTSON told Shannon HUTSON that he was going to sign his property over to her.
During the conversation, Shannon HUTSON took part in a conversation on another telephone.
Shannon HUTSON asked the unknown party what they were needing. Shannon HUTSON
asked, “One and a half'?” Shannon HUTSON told the unknown party to be there around 9:00.

On September 27, 2008, Lloyd LEONARD called Kari PARKS from the Bristol City
Jail. PARKS stated, “I told my mom yesterday that I miss Corky. She said, ‘I don’t give a fuck

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 9 of 39 Pageid#: 2014

if you miss him or not. You need to go out there and get my fucking money.”’

On December 3, 2008, Shannon HUTSON and Daniel Anthony COSBY were detained in
Kingsport, TN in possession of a counterfeit $20.00 bill. HUTSON had just purchased
approximately $777.00 worth of merchandise at Kohl’s and paid cash. HUTSON stated that she
had recently sold a house and had cashed a $10,000.00 check so that she could purchase
Christrnas gifts for her granddaughter and stepson COSBY, who was also in possession of a
large amount of cash, stated that he had just sold a pickup truck to his Grandpa. A consent
search of his vehicle revealed that COSBY was also in possession of 99 dosage units of
OxyContin, ten (10) dosage units of Clonazepam, and five (5) dosage units of Xanax.

On January 14, 2009, Raymond HILLIARD was arrested in Blountville, TN in
possession of ‘/z ounce of cocaine. In a subsequent interview, HILLIARD stated that in 2007, he
was informed by Randy PARKS and Bryan PROFFITT that they were awaiting a delivery of
cocaine from Shannon HUTSON. HILLIARD stated that PROFFIT'I` told him that PROFFITI`
preferred Shannon HUTSON’s cocaine to Rhonda HUTSON’s cocaine because Shannon did not
“cut” hers and Rhonda did.

On January 14, 2009, CS-18 was arrested with Raymond HILLIARD in possession of ‘/z
ounce of cocaine. In a subsequent interview, CS-18 stated that Robert PARKS had told him/her
that PARKS’ mother dealt in quantities of cocaine.

On February 2l, 2009, telephone number (423) 646-6320 (Kari PARKS) engaged in the
following text message communications:

2145 p.m. - PARKS received an order for 2 or 3 from Jeff HOWELL

3108 p.m. - (HOWELL to PARKS) “I’m ready.”

3109 p.m. - (PARKS to HOWELL) “I’m not baby gimme a min.”

3111 p.m. - (PARKS to Matthew COX) “Hey.”

4:01 p.m. - (HOWELL to PARKS) “Gonna be a while longer?”

4:02 p.m. - (COX to PARKS) “What’s up?”

4:07 p.m. - (PARKS to COX) “Do u got? Where ’s mom?”

4108 p.m. - (COX to PARKS) “Don ’t know. Call me.”

4:55 p.m. - (Shannon HUTSON to PARKS) “Outta town.”

On February 24, 2009, telephone number (423) 646-6320 (Kari PARKS) engaged in the
following text message communications:

1156 p.m. ~ (Ryan HILTON to PARKS) “. . .can we do 10?”

2108 p.m. - (PARKS to HILTON) “K 1 gotta hurry cause they r already waitin on me at

the track I got get money n meet her.”

2109 p.m. - (PARKS to Shannon HUTSON) “R yal home?”

2113 p.m. - (PARKS to HILTON) “. . .1 gotta go back near the track n get ill c ya n a min.

Love u.”

2115 p.m. - (PARKS to Matthew COX) “Do u have 15?”

2116 p.m. - (COX to PARKS) “No.”

2117 p.m. _ (PARKS to COX) “Well shit does mom got?”

2:18 p.m. - (COX to PARKS) “Don ’t know. What are you going to do?”

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 10 of 39 Pageid#: 2015

2120 p.m. - (PARKS to COX) “Go to the house n c the kids n try to get them for my

frien .”

3:29 p.m. - (PARKS to HILTON) “I ’m coming baby they wanted 80 4 them so I went to c
if 1 could get cheaper but mom wont have til tonight so l checked somewhere else no luck
so I just got them 4 80 which really sucked baby.”

On February 28, 2009, telephone number (423) 340-2194 (Junior STILTNER’s telephone
being used by Randy CROSS) engaged in the following text message communications with
telephone number (423) 646-6320 (Kari PARKS):

9:07 p.m. - (PARKS) “Hey.”

9:08 p.m. - (CROSS) “Whats up?”

9:08 p.m. - (PARKS) “Whos this?”

9:09 p.m. - (CROSS) “Ur kuz.”

911 l p.m. - (PARKS) “Where is Jr. at?”

9: 12 p.m. - (CROSS) “Right here.”

9:16 p.m. - (PARKS) “Ask him if he can get me like 20-25 from N. I got the $.”

9:23 p.m. - PARKS received the following text message from Junior STILTNER - “We

out til ur mom gets back.”

On March 1, 2009, telephone number (423) 646-6320 (Kari PARKS) engaged in the
following text message communications with telephone number (423) 914-0438 (Isaac SMITH):

12:21 p.m. - (PARKS) “Hey baby.”

12:22 p.m. - (SMITH) “What up?”

12:30 p.m. - (PARKS) “Fixin to take Kyle to a movie or fun adventure or something n

tryn to find a couple things b4 I go. R u doin anything baby?”

1113 p.m. - (PARKS) “1 got the money 4 em baby n my friend wants 10-15. Y aint u sayn

ne thing? Cause mom?”

On March 1, 2009, telephone number (423) 646-6320 (Kari PARKS) engaged in the
following text message communications with telephone number (423) 963-5717 (Shannon
HUTSON):

5:31 p.m. - (PARKS) “Is any here or Jr. got?”

5:31 p.m. _ (HUTSON) “No.”

On March 3, 2009, telephone number (423) 646-6320 (Kari PARKS) engaged in the
following text message communications:

12:30 p.m. - (Jeff HOWELL to PARKS) “Where r u?”

12:30 p.m. - (PARKS to Shannon HUTSON) “Can 1 meet u?”

12:31 p.m. - (PARKS to HOWELL) - “Goin to get tessa n waitin to get them.”

12:33 p.m. - (HUTSON to PARKS) “Where r u?”

12:35 p.m. - (PARKS to HUTSON) “394.”

12:35 p.m. - (HUTSON to PARKS) “Go to Chevron.”

12:39 p.m. - (PARKS to HUTSON) “K.”

12:42 p.m. - (PARKS to HOWELL) “Where u at?”

1117 p.m. - (PARKS to Ryan HILTON) “U want me to come by there now baby?”

10

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 11 of 39 Pageid#: 2016

On March 11, 2009, telephone number (423) 963-5717 (Shannon HUTSON) sent the
following text message to telephone number (423) 646-6320 (Kari PARKS):

3103 p.m. - “And u knew last night u had to get her registered so what the hell did u do

all morning that was more important? U know Kari this really pisses me oj}"u don ’t have

time im 39 my kids are adults and im raising yours cuz u don ’t have time a little help

would b nice all 1 get done is running up and down the road for Josh and doin shit that

someone else should be doin here u knew 1 was in Chatanooga and never even tried to

make sure someone would be therefor him. Don ’t worry about...Jr. is gonna get him.

Im sure u had time to make sure ur friend had a pill or u had time to run where

ever... . Wtf do u mean whats my problem???? Think about it!”

On March 14, 2009, telephone number (423) 646-6320 (Kari PARKS) engaged in the
following text message communications:

7159 a.m. - (PARKS to Jeff HOWELL) “Im sorry she wasn ’t there when 1 got home and

didn ’t get back til late so when 1 got home 1 went to sleep n didn ’t get back up.”

8:07 a.m. - (PARKS to Ryan HILTON) “Im on my way to school baby 1 don ’t have

anything T hey was gone all day yesterday n didn ’t get home til late. 1 was asleep.”

4:15 p.m. - (PARKS to Bob WHITE) “Lkay baby 1 gotta go to the parkway to get some

money so 1 can get them. 1 will have to come back home to get them.”

4116 p.m. - (PARKS to Shannon HUTSON) “Hello.”

4139 p.m. - (HUTSON to PARKS) “1 have them were goin to walmart then well be on.”

5108 p.m. - (WHITE to PARKS) “U good?”

6115 p.m. - (PARKS to WHITE) “Im still wantin on mom to get here bab.”

On March 15, 2009, telephone number (423) 646-6320 (Kari PARKS) engaged in the
following text message communications:

12156 p.m. - (Bob WHITE to PARKS) “Baby 1 need 50 tabs can u help?”

1156 p.m. - (PARKS to WHITE) “When mom gets back.”

9:59 p.m. - (PARKS to Nathan STILTNER) “Hey she said not tonight so 1 don ’t know if

she just don ’t have here n has to go get or what. T hat ’s how 1 took it. 1 will let u know in

the am honey.”

On March 16, 2009, telephone number (423) 646-9995 (Ryan HILTON) engaged in the
following text message communications with telephone number (423) 646-6320 (Kari PARKS):

12:38 p.m. - (HILTON) “Hey baby girl what s the good time today?”

12:45 p.m. - (PARKS) “How many?”

12146 p.m. - (HILTON) “Prob 6 or 7.”

12146 p.m. - (PARKS) “K.”

l1l l p.m. - (PARKS) “Im waitin on her to text me back n let me know where to come too

baby 1 gotta come ur way neways so 1 will bring to u.”

2138 p.m. - (HILTON) “Baby got t0 be back at work at 6.'30.”

3139 p.m. - “Im waitin on her t0 get here. lt will b b4 then.”

On March 26, 2009, telephone number (423) 646-6320 (Kari PARKS) engaged in the
following text message communications with telephone number (423) 612-1307 (Shannon
HUTSON):

11

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 12 of 39 Pageid#: 2017

3108 p.m. - (PARKS) “Did u leave anything?”

3:16 p.m. ~ (HUTSON) “No.”

3117 p.m. - (HUTSON) “Ask Jor loan ask Isac.”

3:36 p.m. - (PARKS) “Im here - J aint here. Wonder why? Call me. Love ya.”
3139 p.m. - (HUTSON) “My door 9544 left side bottom of closet gray dress jacbet short
sleeve on back side n pocket 200 only get 50.”

3142 p.m. - (HUTSON) “B sure n lock my door.”

3144 p.m. - (PARKS) “Okay.”

7:00 p.m. - (HUTSON) “Did u leave my money 4 me?”

7106 p.m. ~ (PARKS) “Its hid at the house. 1 didn ’t bring it with me. R yal almost
home?”

Based on my training and experience, 1 believe that the preceding text message
communications between members of the Shannon HUTSON Drug Trafficking Organization
were in furtherance of drug trafficking activities. I believe, based upon the amounts discussed,
that Kari PARKS was distributing OxyContin to Jeffrey HOWEL, Bobby WHITE, and Ryan
HILTON, I believe that when PARKS ran out of pills she contacted Shannon HUTSON directly,
as well as other distributors for HUTSON including Junior STILTNER, Matthew COX, and
Isaac SMITH,

On March 27, 2009, a consent search was conducted by the Wash`ington County (TN)
Sheriff’ s Office at 3616 N. Roan St., Apt. #4, Johnson City, TN, residence of Daniel Anthony
COSBY. Pursuant to the consent search, detectives seized approximately 150 dosage units of 80
mg OxyContin, ‘/2 ounce of marijuana, $12,810.00 U.S. Currency, three (3) handguns, two (2)
boxes of ammunition, drug ledgers, and miscellaneous indicia. A lock box was discovered in the
apartment that COSBY stated belonged to Shannon HUTSON, A search warrant was obtained
and executed on the lock box, which contained miscellaneous indicia in the names of April S.
HUTSON/ROARK/CROSS including automobile titles, real estate transactions, receipts for
purchases, and expenditures of large amounts of cash.

Pursuant to the consent search, COSBY was interviewed in Johnson City, TN. COSBY
stated that he had been purchasing approximately 200 OxyContin pills biweekly from Shannon
HUTSON for approximately one (1) to 1‘/2 years. COSBY stated that he was paying HUTSON
$50.00 per pill, which was 310,000.00 per transaction COSBY stated that when HUTSON
delivered the pills to COSBY, she always had his pills in two (2) plastic bags with the initial “A”
(for Anthony) on it. COSBY stated that she always had at least eight (8) additional bags with
her. COSBY estimated that she was in possession of at least 1,000 pills every time she delivered
to him.

COSBY stated that HUTSON had told him that she used to sell kilograms of cocaine,
making $40,000.00 per week profit. COSBY stated that he believed that HUTSON’s source of
supply for cocaine was arrested, so she had to concentrate her efforts more toward the
distribution of pills.

COSBY stated that HUTSON utilized numerous cellular telephones to conduct her drug
trafficking activities. COSBY stated that HUTSON changed cellular telephone numbers every
few weeks. COSBY stated that the most recent cellular telephone number utilized by HUTSON
was 423-612-1307. COSBY stated that other numbers by which he was contacted by HUTSON
recently were 423-963-5717, 423-956-9196, 423-534-8356, and 423-956-5036.

12

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 13 of 39 Pageid#: 2018

On April 17, 2009, Lloyd LEONARD was interviewed in Bristol, VA. LEONARD
stated that he purchased one (1) ounce of cocaine from Kari PARKS every day for
approximately one (1) or two (2) months. LEONARD stated that PARKS was a cocaine
distributor for her mother, Shannon HUTSON. LEONARD stated that every time PARKS ran
out of cocaine and needed more, she made the statement, “Gotta go see my mom.” LEONARD
stated that he would ride with PARKS to pick up cocaine from HUTSON, but PARKS would
make him (LEONARD) wait down the street from the residence. LEONARD stated that
HUTSON and PARKS lived on Neeley Dr. in Blountville, TN.

LEONARD stated that HUTSON traded drugs for money cards from various stores, but
especially liked Lowe’s money cards. LEONARD stated that drug customers would shoplift
from stores, then return the merchandise for credit on a money card. LEONARD stated that
these money cards were then traded to HUTSON for drugs worth 50 cents on the dollar
($1,000.00 money card was traded for $500.00 worth of drugs). HUTSON then used the money
cards for the full amount and doubled her money. LEONARD stated that HUTSON requested
him to direct known shoplifters to Lowe’s.

On May 13, 2009, CS-22 was interviewed in Abingdon, VA. CS-22 stated that many
years ago, Rhonda STILTNER (HUTSON), Shannon PARKS (HUTSON), and Sam HUTSON
lived with their mom (Phyllis AMOS) on Flatwood Rd. in Hickory Tree, TN. CS-22 stated that
he/she lived nearby and knew the family. CS-22 stated that he/she made small purchases of
cocaine, no more than “8 balls” (1/8 ounce of cocaine), from Rhonda, Shannon and Sam. CS-22
stated that Sam HUTSON also sold him/her % pounds of marijuana.

On June 30, 2009, surveillance was initiated at 212 Neeley Dr., Blountville, TN, the
residence of Shannon HUTSON. Surveillance observed HUTSON depart the residence as the
passenger in a tan Chevrolet Tahoe, driven by Jonathan Trenton LEONARD. Surveillance
followed HUTSON and LEONARD to the Cracker Barrel Old Country Store located in Kodak,
TN. HUTSON met with an unknown male, subsequently identified as Vincent Meyers, who
arrived in a black Ford pickup truck with Michigan license plates. After the short meeting,
HUTSON and LEONARD traveled back toward Blountville, TN and Meyers toward Knoxville,
TN. A traffic stop was subsequently conducted on HUTSON and LEONARD which resulted in
the seizure of 1,827 dosage units of 80 mg OxyContin, 1,333 dosage units of Lortab, and
$7,280.00 U.S. Currency. A traffic stop conducted on Meyers resulted in the seizure of
$75,220.00 U.S. Currency in a brown bankers bag, to which Meyers did not have a key. A
subsequent search of HUTSON’s belongings revealed that she was in custody of a key that
opened the bankers bag seized from Meyers.

Saved in the Contacts List of Jonathan LEGNARD’s cellular telephone were telephone
numbers (423) 963-5717 and (276) 791-0685 under the name “Shannon”, and telephone number
(423) 534-4403 under the name “Ash” (April Shannon HUTSON).

On July 7, 2009, CS~25 was interviewed in Abingdon, VA. CS~25 stated that he/she was
born and raised in the area of Broyles Ln. in Bristol, TN. CS-25 stated that Shannon HUTSON
had a reputation in the community as a distributor of cocaine and OxyContin, CS-25 stated that
in November or December, 2008, he/she purchased one (1) dosage unit of OxyContin from
Kristin Gray. CS~25 stated that Gray told him/her that the OxyContin came from Shannon

13

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 14 of 39 Pageid#: 2019

HUTSON, CS-25 stated that Gray told him/her that she (Gray) sold cocaine and OxyContin for
HUTSON. CS-25 stated that shortly thereafter, he/she observed Gray in possession of two (2) “8
balls” (1/8 ounce) of cocaine, which Gray stated also came from HUTSON,

On July 20, 2009, telephone number (423) 646-6320 (Kari PARKS) engaged in the
following text message communications with telephone number (423) 791-4034 (Shannon
HUTSON):

9:24 p.m. - (PARKS) “Will u get me a thing please mom im sick.”

9:24 p.m. - (HUTSON) “Yes at house.”

On July 20, 2009, telephone number (423) 383-2400 (Scott Taylor) engaged in the
following text message communications with telephone number (423) 646-6320 (Kari PARKS):

11:56 a.m. - (Taylor) “Can you help me?”

121 14 p.m. - (PARKS) “Probley can. Just one?”

12:17 p.m. - (Taylor) “2”

12:18 p.m. - (PARKS) “Klwill text u when Ipick up.”

12:44 p.m. - (Taylor) “Do you know how long?”

12159 p.m. - (PARKS to Shannon HUTSON) “R u home?”

1104 p.m. - (PARKS to Taylor) “On way 2 do now.”

Based on my training and experience, 1 believe that the preceding text message
communications between Kari PARKS and Shannon HUTSON were in furtherance of drug
trafficking activities. I believe that PARKS, also an abuser of prescription drugs, was supplied
pills by HUTSON for personal use as well as distribution purposes (to Scott Taylor).

On July 23, 2009, CS-27 was interviewed in Abingdon, VA. CS-27 stated that during the
summer of 2008, he/she began purchasing small amounts of cocaine from Shannon HUTSON.
CS-27 stated that in approximately one (1) month, he/she increased his/her amounts from 1/ 16
ounce to ‘/z ounce at a time. CS-27 stated that he/she purchased cocaine from Shannon
HUTSON once or twice a week until January, 2009, when CS-27 was arrested on drug charges.
CS-27 stated that he/she and HUTSON exchanged drugs and money in various parking lots,
specifically the Wal-Mart in Bristol, TN. CS-27 stated that HUTSON was charging him/her
$1,000.00 per ounce of cocaine.

CS-27 stated that when Sam HUTSON went to jail (fall 2008), Shannon HUTSON
approached him/her (CS-27) about selling larger amounts of cocaine. CS-27 stated that Shannon
HUTSON “fronted” him/her two (2) “8 balls” (1/8 ounce of cocaine) with which to start. CS-27
stated that he/she took over some of Sam HUTSON’s cocaine customers.

On July 27, 2009, Kari PARKS was arrested in Blountville, TN. Saved in the Contacts
List of PARKS’ cellular telephones were telephone numbers (423) 963-5717, (423) 956-2493,
(423) 341-2779, (423) 534-4484, (423) 742-5822, and (423) 742-5758 under the names
“Momma” and “Mom”. Telephone numbers (423) 341-7734, (423) 956-8576, (423) 956-5036,
(423) 612-1307, (423) 742-1452, (276) 791-2529, (276) 791-2276, (423) 956-6489, (423) 534-
0230 and (276) 791-0685 were saved under the name “Ash” (April Shannon HUTSON).

On August 19, 2009, Nathan STILTNER and Brandi TUELL were arrested in possession

14

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 15 of 39 Pageid#: 2020

of 70 dosage units of OxyContin and marijuana Subsequent to her arrest, TUELL was
interviewed by law enforcement. TUELL stated that she and Nathan STILTNER were engaged
to be married and had children together. TUELL stated that sometime in 2008, April (Shannon)
HUTSON approached STILTNER to distribute cocaine for her (HUTSON). TUELL stated that
STILTNER sold cocaine for HUTSON for approximately five (5) or six (6) months. TUELL
stated that HUTSON informed STILTNER that her “Mexican friend” had been arrested, and
began supplying STILTNER and TUELL with OxyContin to sell. TUELL stated that she and
STILTNER obtained approximately forty (40) dosage units of 40 mg and 80 mg OxyContin on a
weekly basis for approximately three (3) months, until HUTSON’s arrest in June, 2009. TUELL
stated that she and STILTNER paid $55.00 per pill from HUTSON, and normally delivered
$1,400.00 to HUTSON when replenishing their supply.

Subsequent to his arrest, Nathan STILTNER was interviewed in Blountville, TN.
STILTNER stated that he and TUELL were users of OxyContin STILTNER stated that
Shannon HUTSON had sold OxyContin to him for personal use, but never cocaine,

On September 1, 2009, Shawn BULLEN was arrested in possession of 57 dosage units of
80 mg OxyContin, $3,721.00, and two (2) handguns in Bluff City, TN. Subsequent to his arrest,
BULLEN was interviewed by law enforcement. BULLEN stated that his source of supply for
OxyContin Was Shannon HUTSON. BULLEN stated that he had been supplied approximately
60 dosage units of OxyContin each week for approximately one (1) year by HUTSON.
BULLEN stated that he currently owed approximately $l,000.00 to HUTSON in drug debt.
BULLEN stated that HUTSON utilized prepaid cellular telephones, which she threw away once
the minutes were used.

A search of BULLEN’s cellular telephones revealed the following telephone numbers
under the name Shannon: (423) 963-5717, (423) 742-1452, (276) 791-2529, (423) 956-6489,
(276) 791-0685, (423) 534-0230, (423) 742-5758, (423) 341-2779, (423) 956-2493, and (423)
742-5822.

On November 12, 2009, Ladonna Renee CARNETT was arrested in possession of
approximately 1,173 dosage units of OxyContin while traveling southbound on 1-75 in Knox
County, TN. The vehicle which CARNETT was driving was a gray Nissan Maxima, TN license
175 QPT. The records of the State of Tennessee revealed that TN license 175 QPT returned to a
gray 2008 Nissan 4 door registered to April HUTSON at 212 Neeley Dr., Blountville, TN.

During a subsequent interview with CARNETT, she stated that she was coming from an
unknown location in Michigan CARNETT stated that she had been asked to make the trip to
Michigan by a friend. CARNETT refused to speak about for whom she made the trip, but stated
that the owner of the vehicle was recently arrested with “$158,000.00 worth of this stuff” and
that “it’s not hard to figure out.” When asked again about the person for whom CARNETT was
making the trip, CARNETT stated that “she’s my friend” and that “she is a good person.”
CARNETT left agents with the impression that the owner of` the Nissan Maxima (April Shannon
HUTSON) had asked CARNETT to travel to Michigan for the purpose of obtaining OxyContin,

During a search of the cellular telephones of CARNETT, it was discovered that telephone
numbers (423) 963-5717 and (423) 340-6686 were saved under the name Shannon, According
to the records of Sprint/Nextel, telephone number (423) 963-5717 is subscribed to by April
HUTSON at 212 Neeley Dr., Blountville, TN.

15

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 16 of 39 Pageid#: 2021

On November 20, 2009, Whitney CUTSHAW was interviewed in Kingsport, TN.
CUTSHAW stated that she used to “date” Isaac SMITH, who was a cocaine and OxyContin
distributor. CUTSHAW stated that SMITH told her that Shannon HUTSON was his source of
supply for cocaine and OxyContin CUTSHAW stated that she was with SMITH when he
picked up manila envelopes full of OxyContin from HUTSON, CUTSHAW stated that she
observed SMITH give shopping bags full of cash to HUTSON in exchange for OxyContin

CUTSHAW stated that SMITH told her that HUTSON had children with intravenous
drug habits. CUTSHAW stated that HUTSON supplied her own children with fifteen (15)
tablets of OxyContin per day to support their own habits.

On December 9, 2009, CS-33 was interviewed in Blountville, TN. CS-33 stated that
during 2001 and 2002, he/she observed Shannon HUTSON deliver at least one (1) kilogram per
week (sometimes bi-weekly) to Kevin ROARK and Guy Rush for distribution CS-33 stated that
he/she was with HUTSON on at least four (4) occasions when HUTSON delivered at least ’/z
kilogram of cocaine to David TRIVETT for distribution CS-33 stated that he/she was with
HUTSON on several occasions when HUTSON delivered cocaine to her sister, Rhonda
HUTSON.

CS-33 stated that during 2006 and 2007, hc/she was at Shannon HUTSON’s residence
when HUTSON took delivery of multiple kilograms of cocaine and pounds of marijuana from
two (2) Mexicans. CS-33 stated that HUTSON paid the Mexicans with shopping bags full of
cash. CS-33 stated that he/she never Saw HUTSON with more than three (3) kilograms of
cocaine at one time.

On December 14, 2009, CS-34 was interviewed in Blountville, TN. CS-34 stated that
he/she had been supplied OxyContin and Roxicets by Matthew COX since approximately April,
2009, CS-34 stated that COX was supplied pills by April Shannon HUTSON, his ex-wife. CS-
34 stated that he/she was present at COX’s residence when he took delivery of pills from
HUTSON, usually 500 to 600 dosage units of 80 mg OxyContin at a time. CS-34 stated that the
OxyContins were packaged 100 per bag, and Cox was usually given five (5) or six (6) bags by
HUTSON. CS-34 stated that COX owed a drug debt to HUTSON in the amount of $20,000.00.

Throughout the course of this investigation, agents had been advised by numerous
individuals that HUTSON had one (1) main cellular telephone on which she did not conduct her
drug trafficking activities, telephone number (423) 963-5717. Many of these same individuals
provided the telephone numbers of pre-paid cellular telephones, on which they said HUTSON
conducted her drug trafficking activities for a short period of time and then threw them away.
Although it was not possible for agents to track all of the pre-paid cellular telephones of
HUTSON, it Was discovered that HUTSON utilized the following telephone numbers during the
following time periods:

03/01/2009 - 03/31/2009 (423) 341-4484
03/14/2009 - 03/25/2009 (423) 534-8357
03/22/2009 - 03/30/2009 (423) 612-1307
04/02/2009 - 04/23/2009 (423) 742-1452
06/01/2009 - 07/02/2009 (423) 956-6489
06/17/2009 - 07/02/2009 (276) 791-0685

16

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 17 of 39 Pageid#: 2022

07/02/2009 - 08/24/2009 (276) 791-4034
07/21/2009 - 08/25/2009 (276) 791-3 529
08/04/2009 - 08/25/2009 (276) 791-4239
08/10/2009 - 08/24/2009 (423) 788-4264
09/2009 - 10/2009 (423) 340-6686
10/24/2009 -11/21/2009 (423) 341-1015

These telephone numbers will hereafter be referred to in this Affidavit as Shannon
HUTSON’s cellular telephones.

A financial analysis of April Shannon HUTSON was conducted by Special Agent Trevor
McMurray, IRS, which included analysis of bank accounts, cash expenditures, and income tax
return information Analysis of HUTSON’s bank account at Highlands Union Bank, which is
scheduled out below:

 

2009 (Thru
2006 2007 2008 4/30) mar
Deposits $50,507.68 $24,607.92 $65,796.18 $ 1,903.23 s 142,815.01

Disbursements $ 52,181.21 $ 23,827.57 $ 57,434.87 $ l 1,085. 13 $ 144,528.78

 

 

$(1,673.53) s 780.35 s 8,361.31 $(9,181.90) $ (1,713.77)

Of the total deposits listed above, the following represents the amount of cash that was
deposited each year:

 

2009 (Thru
2006 2007 2008 4/30) Totai
cash Deposits $ 6,800.00 s 14,250.00 $ 4,000.00 $ - $ 25,050.00

 

 

On March 27, 2009, a consent search was conducted by the Washington County (TN)
Sheriff’ s Office at 3616 N. Roan St., Apt. #4, Johnson City, TN, residence of Daniel Anthony
COSBY. Pursuant to the consent search, detectives seized approximately 150 dosage units of 80
mg OxyContin, ‘/z ounce of marijuana, $12,810.00 U.S. Currency, three (3) handguns, two (2)
boxes of ammunition, drug ledgers, and miscellaneous indicia. A lock box was discovered in the
apartment that COSBY stated belonged to S. HUTSON, A search warrant was obtained and
executed on the lock box, which contained miscellaneous indicia in the names of April S.
HUTSON/ROARK/CROSS including automobile titles, real estate transactions, receipts for
purchases, and expenditures of large amounts of cash. Below are various schedules of
documented cash expenditures from that lock box, other subpoenaed records and the above listed
cash deposits resulting in $115,454.74 in cash from unknown sources:

17

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 18 of 39 Pageid#: 2023

Unknown
Cash Source of
Cash Deposits Expenditures Cash

2006 $ 6,800.00 $ 36,724.95 $ 43,524.95
2007 $ 14,250.00 $ 7,681.77 $ 21,931.77
2008 $ 4,000.00 $ 30,794.42 $ 34,794.42
2009 $ - $ 15,203.60 $ 15,203.60

 

$ 25,050.00 $ 90,404.74 $115,454.74

Of the above documented cash expenditures, below is a list of specific entities or
individuals that received cash from HUTSON:

 

Description 2006-2009
Lowes (to include Cash & Gift Card
Purchases $ 8,546.67
Money Order Purchase - America
Honda Finance $27,010.76
Patrice Roark $35,000.00
Zak's Fumiture $ 8,869.59
Wal-Mart $ 3,194.34
$82,621.36

Upon analysis of HUTSON’s income tax records via Ex-Parte order, it was found that
she has not filed any returns for 2006 or 2008, In 2007, she filed a 1040A with her then
husband, Matthew L. COX. She claimed as dependents, her son, Joshua SNYPES, and her grand
daughter, Tessa Parks. None of the income related to that income tax return was associated to
HUTSON, In 2006, HUTSON had gambling winnings from Tribal Casino Gaming Enterprise in
Cherokee, N.C. reported to the Internal Revenue Service of $813.00. Other than the $813, there
have been no reported earnings relating to HUTSON from 2005 - 2008,

Based upon the analysis of Shannon HUTSON, it is apparent that her cash expenditures
and other spending habits are not supported by any documented income, such as a W-2 from
known employment or other known legitimate business type activity. Her spending is consistent
with that of someone who is involved in the trafficking of illegal narcotics that generates a large
quantity of cash,

A criminal history check on April Shannon HUTSON revealed the following arrests:
2009 - Possession of Schedule II for Resale, Possession of Schedule III for Resale.

18

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 19 of 39 Pageid#: 2024

Phyllis Ann AMOS (AKA Phyllis HUTSON, Phyllis BARKER, Phyllis MUTTER)

In October, 2005, a controlled purchase of cocaine was made from Raymond HILLIARD
in Bristol, TN. Surveillance followed HILLIARD to 260 Old Oak Ln., Lot 19, Bristol, TN,
where he received the cocaine. On October 22, 2005, a search warrant was executed at 260 Old
Oak Ln., Lot 19, Bristol, TN, the residence of Phyllis AMOS. Seized pursuant to the search
warrant were approximately 462.5 grams of cocaine, over two (2) pounds of marijuana, digital
scales, drug ledgers, and $54,031.76 in U.S. Currency.

On December 17, 2007, Gordie STEVENS was interviewed in Bristol, TN. STEVENS
stated that he had been obtaining large amounts of cocaine from Rhonda HUTSON for years.
STEVENS stated that Rhonda HUTSON’s source of supply for cocaine was her sister, Shannon
HUTSON. STEVENS stated that their mother, Phyllis AMOS, was currently incarcerated on
drug charges. STEVENS stated that he believed that AMOS was a cocaine distributor for
Shannon HUTSON.

On May 14, 2008, Chucky HENSLEY was interviewed in Blountville, TN. HENSLEY
stated that Phyllis AMOS was the mother to Shannon and Rhonda HUTSON. HENSLEY stated
that AMOS used to sell cocaine for Shannon HUTSON, HENSLEY stated that approximately
two (2) years ago, AMOS was arrested in possession of Shannon HUTSON’s cocaine and
money.

On June 30, 2009, Shannon HUTSON and Jonathan LEONARD were arrested in
possession of 1,827 dosage units of 80 mg OxyContin, 1,333 dosage units of Lortab, and
$7,280.00 U.S. Currency. Saved in the Contacts List of HUTSON’s cellular telephones was
telephone number (423) 274-4231 under the name “Cel Mom”.

On July 27, 2009, Kari PARKS was arrested in Blountville, TN. PARKS stated that her
grandmother, Phyllis AMOS, sold cocaine to Raymond HILLlARD. Saved in the Contacts List
of PARKS’ cellular telephones were telephone numbers (423) 341-6942, (423) 538-7201, and
(423) 274-4231 under the name Mamaw.

A criminal history check on Phyllis AMOS revealed the following arrests: 2007 ~
Possession of Schedule 11 Drugs (Cocaine), Possession of Schedule VI Drugs, Maintain
Dwelling for Drug Use.

Daniel Anthony COSBY

On December 3, 2008, Shannon HUTSON and Daniel Anthony COSBY were detained in
Kingsport, TN in possession of a counterfeit $20.00 bill. HUTSON had just purchased
approximately $777.00 worth of merchandise at Kohl’s and paid cash. HUTSON stated that she
had recently sold a house and had cashed a $10,000.00 check so that she could purchase
Christmas gifts for her granddaughter and stepson COSBY, who was also in possession of a
large amount of cash, stated that he had just sold a pickup truck to his Grandpa. A consent
search of his vehicle revealed that COSBY was also in possession of 99 dosage units of
OxyContin, ten (10) dosage units of Clonazepam, and five (5) dosage units of Xanax.

19

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 20 of 39 Pageid#: 2025

On January 29, 2009, surveillance was conducted on Kari PARKS. Surveillance units
followed PARKS to an apartment complex located at 3616 N. Roan St., Johnson City, TN.
PARKS parked her silver Honda Pilot next to a white Chevrolet Tahoe registered to Daniel
COSBY at that address, Apt., #4. Approximately ten (10) minutes later, PARKS exited Apt. #4
and was followed to a Chevron Gas Station/Carwash where she parked in a carwash stall.
Approximately ten (10) minutes later, an unknown white male, subsequently identified as Ryan
HILTON, arrived in a blue Nissan Maxima and entered the passenger side of PARKS’ vehicle.
Approximately five (5) minutes later, HILTON exited PARKS’ vehicle and departed in the
Maxima.

On March 27, 2009, a “knock and talk” was conducted by the Washington County (TN)
Sheriff’s Office at 3616 N. Roan St., Apt. #4, Johnson City, TN. Detectives had received
information that the individual living there was an OxyContin distributor who had threatened
people with a firearm. Upon making contact with Daniel Anthony COSBY, detectives received
his consent to search the apartment Pursuant to the consent search, detectives seized
approximately 150 dosage units of 80 mg OxyContin, ‘/z ounce of marijuana, $12,810.00 U.S.
Currency, three (3) handguns, two (2) boxes of ammunition, drug ledgers, and miscellaneous
indicia. A lock box was discovered in the apartment that COSBY stated belonged to Shannon
HUTSON, A search warrant was obtained and executed on the lock box, which contained
miscellaneous indicia in the names of April S. HUTSON/ROARK/CROSS including automobile
titles, real estate transactions, receipts for purchases and expenditures of large amounts of cash.

Pursuant to the “knock and talk”, COSBY was interviewed in Johnson City, TN.
COSBY stated that he had been purchasing approximately 200 OxyContin pills biweekly from
Shannon HUTSON for approximately one (1) to 1‘/2 years. COSBY stated that he was paying
HUTSON $50.00 per pill, which was $10,000.00 per transaction COSBY stated that he had
been supplying Kari PARKS with approximately ten (10) OxyContin pills per day for the last
three (3) months, because PARKS and HUTSON got into a fight and HUTSON would no longer
supply PARKS.

On March 31, 2009, after failing to comply with law enforcement, COSBY was placed
into custody for possession of the aforementioned drugs and guns. At approximately 11108 p.m.,
Shannon HUTSON sent the following text message to Kari PARKS: “911 call now.”

On April 1, 2009 at approximately 8149 p.m., HUTSON sent the following text message
to PARKS: “He was on the news.”

On April 2, 2009 at approximately 9110 p.m., HUTSON sent the following text message
to PARKS: “Don’t send anything to that other phone im not using it.” By April 3, 2009, all
known cell phones used by HUTSON and PARKS were discontinued

According to telephone toll analysis, the telephones subscribed to and/or utilized by
Daniel Anthony COSBY (423-202-0037) attempted to contact Shannon HUTSON’s cellular
telephones approximately 119 times between 03/22/2008 and 03/30/2009. The telephones
subscribed to and/or utilized by COSBY attempted to contact Kari PARKS’ cellular telephones
approximately 596 times between 11/13/2008 and 03/05/2009.

A criminal history check on Anthony COSBY revealed the following arrests: 2005 -

20

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 21 of 39 Pageid#: 2026

Controlled Schedule 1 Drug Violations, Public Intoxication, Unlawful Drug Paraphemalia; 2009
~ Possession of Schedule II for Resale, Possession of Schedule VI for Resale, Possession of
Drug Paraphemalia, Maintaining a Dwelling Where Controlled Substances are Sold, Possession
of a Firearm During the Commission of a Felony.

Roby Kevin ROARK

On May 21, 2008, a vehicle owned by Roby Kevin ROARK and Crystal Renae
Sossoman was repossessed by a company in Johnson City, TN. Upon inventorying the vehicle,
approximately 11.5 grams of a white powdery substance was discovered in a plastic bag
contained in a laundry sheet softener box. Also discovered were a set of scales and three (3)
empty clear bags. A report was filed with the Johnson City Police Department. The white
powdery substance tested negative for cocaine.

On December 1, 2008, Brandon KINCER was interviewed in Bristol, TN. KINCER
stated that Kevin ROARK was the ex-husband of Shannon HUTSON. KINCER stated that he
had observed ROARK in possession of seven (7) or eight (8) ounces of cocaine and 100 dosage
units of 80 mg OxyContin KINCER stated that he had purchased ounces of cocaine from
ROARK,

. On March 27, 2009, a consent search was conducted by the Washington County (TN)
Sheriff’s Office at 3616 N. Roan St., Apt. #4, Johnson City, TN, residence of Daniel Anthony
COSBY. Pursuant to the consent search, detectives seized approximately 150 dosage units of 80
mg OxyContin, ‘/z ounce of marijuana, $12,810.00 U.S. Currency, three (3) handguns, two (2)
boxes of ammunition, drug ledgers, and miscellaneous indicia. A lock box was discovered in the
apartment that COSBY stated belonged to Shannon HUTSON, A search warrant was obtained
and executed on the lock box, which contained miscellaneous indicia in the names of April S.
HUTSON/ROARK/CROSS including automobile titles, real estate transactions, receipts for
purchases and expenditures of large amounts of cash, Also included in the miscellaneous indicia
was a Department of Human Services statement in the name of Roby K. ROARK at the address
of 212 Neeley Dr., Blountville, TN (residence of HUTSON ~ dated 07/23/2008).

On June 17, 2009, surveillance was conducted at 212 Neeley Dr., Blountville, TN
(residence of Shannon HUTSON and Kari PARKS). At approximately 7145 p.m., PARKS was
observed operating a silver Toyota Tundra registered to Shannon HUTSON. PARKS was
followed to the Food City in Blountville, where she picked up an unknown male standing in
front of the store (the weather was poor and agents were unable to confirm the identity of the
unknown male, however, the description of the unknown male was similar to that of Kevin
ROARK). PARKS and the unknown male parked in the parking lot of the Food City until
Shannon HUTSON arrived in a tan Chevrolet Tahoe (registered to Phyllis AMOS). PARKS and
HUTSON met in the Tahoe for approximately two (2) minutes, then PARKS and the unknown
male departed in the Toyota Tundra. The Toyota Tundra was followed to a residence in Bristol,
TN, then to the Sullivan County Detention Center (at approximately 8:30 p.m.). The log from
the Sullivan County Detention Center recorded that at approximately 8:30 p.m., “Kevin Roby”,
address of 2997 Dew Valley, Bristol, TN visited Crystal Sossoman

According to SCSO records, Crystal Renae Sossoman has reported domestic violence

21

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 22 of 39 Pageid#: 2027

incidents with Roby Kevin ROARK listed as the suspect.

According to telephone subscriber records, telephone number (423) 343-23 95 was
subscribed to by Roby ROARK at 2997 Denton Valley Rd., Bristol, TN (address similar to that
listed above).

On June 30, 2009, Shannon HUTSON and Jonathan LEONARD were arrested in
possession of 1,827 dosage units of 80 mg OxyContin, 1,333 dosage units of Lortab, and
$7,280.00 U.S. Currency. Saved in the Contacts List of HUTSON’s cellular telephones was
telephone number (276) 791-3936 under the name “Kev”.

On July 3, 2009, telephone number (276) 791-3936 (Kevin ROARK) engaged in the
following text message communications with telephone number (423) 534-4518 (Kari PARKS):

2121 p.m. - (PARKS) “T hank u Kevin.”

3107 p.m. - (ROARK) “Did u get anything baby?”

3108 p.m. - (PARKS) “No.”

On July 6, 2009, telephone number (276) 791-3936 (Kevin ROARK) engaged in the
following text message communications with telephone number (423) 534-4518 (Kari PARKS):

2141 p.m. - (PARKS) “1m sick. Y did u leave last night? U got anything?”

2142 p.m. - (ROARK) “Got to have 60.”

2143 p.m. - (PARKS) “Ugot them?”

2147 p.m. ~ (PARKS) “1m comn by.”

2148 p.m. - (ROARK) “Ok.”

On July 19, 2009, telephone number (276) 791-3936 (Kevin ROARK) engaged in the
following text message communications with telephone number (423) 646-6320 (Kari PARKS):

10156 a.m. - (PARKS) “Do u have 4 or 5?”

2101 p.m. - (PARKS) “Ol ’ well u got 4 or 5?”

Based on my training and experience, I believe that the preceding text message
communications between Kevin ROARK and Kari PARKS were in furtherance of drug
trafficking activities, 1 believe PARKS ran out of OxyContin and was attempting to get supplied
additional pills by ROARK, who was charging $60.00 per dosage unit.

On July 27, 2009, Kari PARKS was arrested in Blountville, TN. Saved in the Contacts
List of PARKS’ cellular telephones was telephone number (423) 963-8620 under the name “K.
Roark”, and telephone number (276) 791-3936 under the name “K.R.”. Telephone numbers
(423) 343-6799 and (423) 341-0772 were saved under the name “Kevin”.

On July 28, 2009, CS-26 was interviewed in Greenville, TN. CS-26 stated that Kevin
ROARK was a distributor of cocaine and OxyContin, CS-26 stated that prior to his/her arrest,
he/she and ROARK were competitors in the distribution of drugs. CS-26 stated that ROARK
used to live with Shannon HUTSON, but CS-26 did not know HUTSON very well.

On December 9, 2009, CS-33 was interviewed in Blountville, TN. CS-33 stated that
during 2001 and 2002, he/she observed Shannon HUTSON deliver at least one (1) kilogram per

22

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 23 of 39 Pageid#: 2028

week (sometimes bi-weekly) to Kevin ROARK and Guy Rush for distribution CS-33 stated that
ROARK and Rush split the cocaine between the two of them, packaged it for distribution, then
distributed the cocaine to their customers.

CS-33 stated that during the spring of 2009, ROARK told CS-33 that he (ROARK) had
traveled with HUTSON to Ohio to pick up OxyContin CS-33 stated that ROARK was a
distributor of OxyContin for HUTSON until October, 2009.

On December 14, 2009, CS-34 was interviewed in Blountville, TN. CS-34 stated that
he/she had been supplied OxyContin and Roxicets by Matthew COX since approximately April,
2009, CS-34 stated that COX was supplied pills by April Shannon HUTSON, his ex-wife. CS-
34 stated that COX owed a drug debt to HUTSON in the amount of $20,000.00, and in turn,
HUTSON owed her supplier an estimated $200,000.00. CS-34 stated that recently, HUTSON
had been arrested in possession of a large amount of pills, and that her supplier stopped dealing
with her. CS-34 stated that following HUTSON’s arrest, there was a “dry spell” in the area.

CS-34 stated that prior to September, 2009, Kevin and Kristin (ROARK) were introduced
to a source of supply for OxyContin in the area of Miami, FL. CS-34 stated that in September,
2009, Kevin ROARK began taking COX to Miami at least once a week, CS-34 stated that
ROARK and COX were obtaining approximately 200 dosage units of 80 mg OxyContin, and
200 dosage units of 30 mg OxyContin per trip. CS-34 stated that in November, 2009, COX took
HUTSON to Miami to obtain OxyContin from the source.

According to telephone toll analysis, the telephones subscribed to and/or utilized by
Kevin ROARK (423-200-0130, 423-723-4480, 276-791-3936, 423-343-6799, 423-341-0772,
423-963-8620, 423-963-2750, 423-343-2395, 423-878-0259) attempted to contact Shannon
HUTSON’s cellular telephones approximately 1,3 87 times between 03/20/2008 and 09/10/2009.
The telephones subscribed to and/or utilized by Kevin ROARK attempted to contact Kari
PARKS’ cellular telephones approximately 227 times between 08/16/2008 and 07/29/2009.

A criminal history check on Kevin ROARK revealed the following arrests: 2003 -
Domestic Assault, False lmprisonment; 2006 - Domestic Assault.

Matthew Lee COX

On February 21, 2009, telephone number (423) 646-6320 (Kari PARKS) engaged in the
following text messages communications:

2:45 p.m. - PARKS received an order for 2 or 3 from Jeff HOWELL

3108 p.m. - (HOWELL to PARKS) “I’m ready.”

3109 p.m. - (PARKS to HOWELL) “I’m not baby gimme a min.”

3111 p.m. - (PARKS to Matthew COX) “Hey.”

4101 p.m. - (HOWELL to PARKS) “Gonna be a while longer?”

4102 p.m. - (COX to PARKS) “What’s up?”

4:07 p.m. - (PARKS to COX) “Do u got? Where ’s mom?”

4108 p.m. - (COX to PARKS) “Don ’t know. Call me.”

4:55 p.m. - (Shannon HUTSON to PARKS) “Outta town.”

23

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 24 of 39 Pageid#: 2029

On February 24, 2009, telephone number (423) 646-6320 (Kari PARKS) engaged in the
following text message communications:

1156 p.m. - (Ryan HILTON to PARKS) “. . .can we do 10?”

2:08 p.m. - (PARKS to HILTON) “K 1 gotta hurry cause they r already waitin on me at

the track 1 got get money n meet her.”

2109 p.m. - (PARKS to Shannon HUTSON) “R yal home?”

2113 p.m. - (PARKS to HILTON) “. . .1 gotta go back near the track n get ill c ya n a min.

Love u.”

2115 p.m. - (PARKS to Matthew COX) “Do u have 15?”

2:16 p.m. _ (COX to PARKS) “No.”

2117 p.m. - (PARKS to COX) “Well shit does mom got?”

2118 p.m. - (COX to PARKS) “Don ’t know. What are you going to do?”

2:20 p.m. - (PARKS to COX) “Go to the house n c the kids n try to get them for my

hiend,”

3129 p.m. - (PARKS to HILTON) “I’m coming baby they wanted 80 4 them so 1 went to c

if 1 could get cheaper but mom wont have til tonight so 1 checked somewhere else no luck

so 1 just got them 4 80 which really sucked baby.”

On March 31, 2009, telephone number (423) 341-5146 (Matthew COX) engaged in the
following text message communications with telephone number (423) 646-6320 (Kari PARKS):

4:55 p.m. - (COX) “T his is my new number.”

4:56 p.m. - (PARKS) “Who?”

4:57 p.m. - (COX) “Matt.”

5113 p.m. - (COX) “Whats up?”

5:15 p.m. - (PARKS) “Nothing 1m getting’ the kids something to eat. Was Josh with

Mom?”

5:15 p.m. - (COX) “Yeah.”

5:19 p.m. - (COX) “You have any dome?”

5:22 p.m. - (PARKS) “No. 1 dropped ‘em in the toilet.”

On April 1, 2009, telephone number (423) 646-6320 (Kari PARKS) engaged in the
following text message communications:

10102 p.m. _ (PARKS to Matthew COX) “Where u goin ’? U have nething?”

10:07 p.m. - (COX to PARKS) “Yeah.”

101 10 p.m. - (PARKS to COX) “Stop some where im bout to pass flea market.”

11:03 p.m. - (PARKS to Ryan HILTON) “Okay she hadn ’t got them yet. 1 ’d say she has

now but 1 don ’t know if u ’d wanna wait while 1 go back there or not. But 1 went ahead n

got a couple 4 u from somewhere else so u ’d b okay if u didn ’t wanna wait tonight. Its up

to u baby. 1 will bring them to u at lunch if u don ’t wanna wait.”

11108 p.m. - (COX to PARKS) “Goodnight.”

11108 p.m. - (PARKS to COX) “U2 ~ thank u @.”

Based on my training and experience, I believe that the preceding text message
communications between Matthew COX and Kari PARKS were in furtherance of drug
trafficking activities, I believe that PARKS ran out of OxyContin and was attempting to get

24

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 25 of 39 Pageid#: 2030

supplied additional pills by COX on several occasions, which she succeeded to do on April 1,
2009.

On June 30, 2009, Shannon HUTSON and Jonathan LEONARD were arrested in
possession of 1,827 dosage units of 80 mg OxyContin, 1,333 dosage units of Lortab, and
$7,280.00 U.S. Currency. Saved in the Contacts List of` HUTSON’s cellular telephones was
telephone number (423) 963-7846 under the name “Matthew”.

On July 19, 2009, telephone number (423) 963-7846 (Matthew COX) engaged in the
following text message communications with telephone number (423) 646-6320 (Kari PARKS):

1152 p.m. - (COX) “Can you get anything?”

1153 p.m. - (PARKS) “Maybe whatcha want? Probley b full price. 1 don ’t know.”

1155 p.m. ~ (COX) “1 want some dome or anything”

5131 p.m. - (PARKS) “1 can get them but he wants full price.”

5133 p.m. - (COX) “Get them.”

5134 p.m. - (PARKS) “Not dons. Bigs is all 1 can get right now. Ifu want let me know.”

Based on my training and experience, I believe that the preceding text message
communications between Matthew COX and Kari PARKS were in furtherance of drug
trafficking activities, 1 believe that PARKS arranged to supply COX with OxyContin

On July 27, 2009, Kari PARKS was arrested in Blountville, TN. Saved in the Contacts
List of PARKS’ cellular telephones were telephone numbers (423) 963-7846, (423) 341-8385,
(423) 956-9539, and (423) 341-5146 under the name “Matt Cox”. Telephone number (423) 773-
2196 was saved under the name “Dick sucker”.

On November 5, 2009, CS-32 was interviewed in Bristol, TN. CS-32 stated that he/she
had observed Matt COX using and selling drugs, specifically prescription pills such as
OxyContin, Roxicet, and Methadone. CS-32 stated that he/she had observed COX sell drugs to
people at his residence, located at 1901 Allison Rd., Piney Flats, TN.

CS-32 stated that he/she had observed COX in possession of at least 200 to 300 dosage
units of Roxicet tablets, 50 to 60 dosage units of OxyContin tablets, and 50 to 60 dosage units of
methadone tablets. CS-32 stated that he/she had observed COX separate these pills and place
them into plastic baggies for resale. CS-32 stated that he/she had observed COX in possession of
$5,000.00 to $6,000.00 U.S. Currency at one time.

CS-32 stated that on November 2, 2009, he/she observed COX with a packed bag,
appearing to be leaving town. CS-32 stated that he/she believed that COX was going on a trip to
pick up drugs. CS-32 stated that COX departed in a brown/gold colored hall size Chevrolet
pickup truck with a white male named Chris LNU (Last Name Unknown).

CS-32 stated that COX utilized pre-paid cellular telephones to conduct drug transactions.
CS-32 stated that he/she had overheard COX on one of these phones discussing prices and
meeting places. CS-32 stated that COX’s most current pre-paid cell phone number was (423)
298-1593. CS-32 stated that COX’s personal cell phone number was (423) 963-7846.

On November 20, 2009, Whitney CUTSHAW was interviewed in Kingsport, TN.
CUTSHAW stated that Isaac SMITH was a distributor of OxyContin and cocaine for Shannon

25

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 26 of 39 Pageid#: 2031

HUTSON. CUTSHAW stated that when HUTSON went out of town to pick up drugs, SMITH
was sometimes supplied by Matt COX.

On December 9, 2009, CS-33 was interviewed in Blountville, TN. CS-33 stated that
Matthew COX was an ex-husband of Shannon HUTSON. CS-33 stated that COX had been a
distributor of OxyContin for HUTSON until recently, when he obtained his own source of
supply for OxyContin in Florida. CS-33 stated that in November, 2009, COX took HUTSON
down to Florida to purchase OxyContin

CS-33 stated that in July and August, 2009, he/she had observed large amounts of
OxyContin and Roxicets at COX’s residence. CS-33 described COX’s residence as a small
white house located on Allison Rd. in Piney Flats, TN. CS-33 stated that there was a little white
building located behind the residence.

CS-33 stated that Matt COX’s pre-paid cellular telephone number was (423) 298-1593.
CS-33 stated that COX’s personal cell phone number was (423) 963-7846.

On December 14, 2009, CS-34 was interviewed in Blountville, TN. CS-34 stated that
he/she had been supplied OxyContin and Roxicets by Matthew COX since approximately April,
2009. CS-34 stated that COX was supplied pills by April Shannon HUTSON, his ex-wife. CS-
34 stated that he/she was present at COX’s residence when he took delivery of pills from
HUTSON, usually 500 to 600 dosage units of 80 mg OxyContin at a time. CS-34 stated that the
OxyContins were packaged 100 per bag, and COX was usually given five (5) or six (6) bags by
HUTSON.

CS-34 stated that he/She helped COX count his drug proceeds on at least six (6)
occasions. CS-34 stated that COX usually had approximately $10,000.00 to $15,000.00 U.S.
Currency to count, and never less than $5,000.00.

CS-34 stated that in November, 2009, he/she observed COX in possession of 600 to 800
dosage units of 30 mg OxyContin and 300 to 400 dosage units of 80 mg OxyContin at COX’s
residence. CS-34 stated that COX lived in a small white home located on Allison Rd. in Piney
Flats, TN. CS-34 stated that there were two (2) outbuildings located on the property.

CS-34 stated that COX had two (2) telephones - (423) 963-7846 for everyday use and
(423) 429-7699 for his drug business. CS-34 stated that the latter telephone was a pre-paid
cellular telephone that could not be traced to COX and could be disposed of quickly.

According to telephone toll analysis, the telephones subscribed to and/or utilized by
Matthew COX (423-557-9989, 423-773-2196, 423-963-7846, 423-341-8385, 423-956-9539,
423-341-5146, 423-429-7699) attempted to contact Shannon HUTSON’s cellular telephones
approximately 7,046 times between 02/02/2008 and 07/31/2009. The telephones subscribed to
and/or utilized by Matthew COX attempted to contact Kari PARKS’ cellular telephones
approximately 255 times between 05/28/2008 and 07/12/2009.

A criminal history check on Matt COX revealed the following arrests: 2007 - Aggravated
Assault.

Jonathan Trenton LEONARD

On February 22, 2009, Jonathan Trenton LEONARD and Ashley Strahan were detained

26

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 27 of 39 Pageid#: 2032

pursuant to a traffic stop on 1-75 in McMim County, TN. LEONARD was the driver of a Toyota
Tundra pickup truck, TN license 225 QPH. The records of the State of Tennessee revealed that
TN license 225 QPH returned to a 2006 Toyota Pickup registered to April S. HUTSON at 212
Neeley Dr., Blountville, TN. Pursuant to a consent search of the vehicle, approximately
$4,000.00 U.S. Currency was discovered, as well as a firearm.

On March 20, 2009, telephone number (423) 646-6320 (Kari PARKS) engaged in the
following text message communications:

11121 a.m. - (PARKS to Jonathan LEONARD) “Hey baby ~ u got some things don ’t

ya?’,

12122 p.m. - (LEONARD to PARKS) “Few.”

12:30 p.m. - (PARKS to LEONARD) “1 need a couple.”

1107 p.m. - (LEONARD to PARKS) “Whean gonna b home?”

3112 p.m. - (PARKS to LEONARD) “1m on the way baby.”

3117 p.m. - (LEONARD to PARKS) “1m not at ur house 1 had 2 run 4 a bit.”

3:18 p.m. - (PARKS to LEONARD) “Calfme.”

8:29 p.m. - (PARKS to LEONARD) “R u close baby?”

8130 p.m. - (LEONARD to PARKS) “15 min.”

8134 p.m. - (PARKS to LEONARD) “K 1 still need a couple of them sn 1 can get mom

these wmart cards. Can 1 get them n 1 will give the to u in the am or tonight if mom

comes home?”

8:36 p.m. - (LEONARD to PARKS) “K.”

8152 p.m. ~ (PARKS to Ryan HILTON) “Baby my friend has something he needs to get

rid of real fast for pretty cheap if u want some. 1 was goin to get half of them n c if u

wanted to get the other.”

Based on my training and experience, 1 believe that the preceding text message
communications between Jonathan LEONARD and Kari PARKS were in furtherance of drug
trafficking activities. 1 believe that LEONARD supplied PARKS with prescription pills, who in
turn offered to sell half of the pills to Ryan HILTON,

On June 30, 2009, surveillance was initiated at 212 Neeley Dr., Blountville, TN, the
residence of Shannon HUTSON. Surveillance observed HUTSON depart the residence as the
passenger in a tan Chevrolet Tahoe, driven by Jonathan Trenton LEONARD, Surveillance
followed HUTSON and LEONARD to the Cracker Barrel Old Country Store located in Kodak,
TN. HUTSON met with an unknown male, subsequently identified as Vincent Meyers, who
arrived in a black Ford pickup truck with Michigan license plates. After the short meeting,
HUTSON and LEONARD traveled back toward Blountville, TN and Meyers toward Knoxville,
TN. A traffic stop was subsequently conducted on HUTSON and LEONARD which resulted in
the seizure of 1,827 dosage units of 80 mg OxyContin, 1,333 dosage units of Lortab, and
$7,280.00 U.S. Currency. A traffic stop conducted on Meyers resulted in the seizure of
$75,220.00 U.S. Currency in a brown bankers bag, to which Meyers did not have a key. A
subsequent search of HUTSON’s belongings revealed that she was in custody of a key that
opened the bankers bag seized from Meyers.

On July 27, 2009, Kari PARKS was arrested in Blountville, TN. Saved in the Contacts

27

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 28 of 39 Pageid#: 2033

List of PARKS’ cellular telephones was telephone number (423) 534-6433 under the name
¢‘Jon,"

On December 9, 2009, CS-33 was interviewed in Blountville, TN. CS~33 stated that
Jonathan LEONARD was addicted to cocaine and OxyContin CS-33 stated that LEONARD
was supplied both drugs by Shannon HUTSON. CS~33 stated that HUTSON paid LEONARD
with drugs to do construction work on her residence. CS-33 stated that LEONARD currently
owed a drug debt to HUTSON in the amount of $10,000.00.

According to telephone toll analysis, the telephones subscribed to and/or utilized by
Jonathan LEONARD (423-534-6433, 423-956-5295) attempted to contact Shannon HUTSON’s
cellular telephones approximately 620 times between 12/30/2008 and 06/30/2009. The
telephones subscribed to and/or utilized by Jonathan LEONARD attempted to contact Kari
PARKS’ cellular telephones approximately 307 times between 03/01/2009 and 07/03/2009.

A criminal history check on Jonathan LEONARD revealed the following arrests: 2006 -
Public Intoxication; 2007 - Public Intoxication; 2009 - Possession of Schedule 11 for Resale.

Nathan Charlie STILTNER (AKA Nate STILTNER) / Brandi Lynnay TUELL

On February 15, 2008, CS-5 was interviewed in Bristol, TN. CS-5 stated that he/she had
purchased cocaine from Raymond HILLIARD at his residence on approximately 15 to 20
occasions. CS-5 stated that HILLIARD’s source of supply for cocaine was Nathan STILTNER.
CS-5 stated that on at least one (1) occasion, he/she drove April Hilliard to STILTNER’s trailer
to pick up cocaine for Raymond HILLIARD. CS-5 stated that STILTNER lived on Basham Hill
Rd. in the Bristol Heights Trailer Park.

On March 1, 2009, telephone number (423) 646-6320 (Kari PARKS) engaged in the
following text message communications with telephone number (423) 384-4974 (Timmy
Rutledge):

11114 a.m. - (PARKS) “1 love u baby does Nathan have any?”

On May 14, 2008, Chucky HENSLEY was interviewed in Blountville, TN. HENSLEY
stated that Junior STILTNER was a cocaine source of supply for Gordie STEVENS, Raymond
HILLIARD, Nathan STILTNER, and Clyde STILTNER, as well as others.

On December 1, 2008, Brandon KINCER was interviewed in Bristol, TN. KINCER
stated that he had purchased cocaine from Randy PARKS, Rhonda HUTSON’s son. KINCER
stated that on occasion, PARKS had to go to the residence of Nate LNU to obtain the cocaine.
KINCER stated that Nate LNU resided in the Bristol Heights Trailer Park on Weaver Pike.

On January 6, 2009, CS-17 was interviewed in Blountville, TN. CS-17 stated that
Nathan LNU (Last Name Unknown), AKA “Nate”, was a distributor of cocaine, Morphine, and
OxyContin, CS-17 stated that he/she had purchased 1/ 16 ounce of cocaine from “Nate” three (3)
to four (4) times a day for the last six (6) months. CS-17 stated that he/she had also purchased
OxyContin, Morphine, Lortab, and “Totem Poles” (Xanax) from “Nate”. CS-17 stated that

28

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 29 of 39 Pageid#: 2034

he/she had been with “Nate” while he made deliveries of drugs, and had personally observed him
make approximately $4,000.00 in a couple of hours by selling drugs, CS-17 stated that “Nate”
used to supply cocaine to Raymond HILLIARD.

CS-17 stated that “Nate” lived in the Bristol Heights Trailer Park and described him as a
short white male, medium build, 28 to 30 years of age, dark hair, goatee, with a diamond earring
in his left ear. According to Nathan STILTNER’s driver’s license information and photo,
STILTNER is 5’08”, 205 lbs., 28 years old, dark hair with a goatee, and has a diamond earring in
his left ear.

On January 14, 2009, Raymond HILLIARD was arrested in Blountville, TN in
possession of ‘/2 ounce of cocaine. In a subsequent interview, HILLIARD stated that his source
of supply for cocaine had been Junior STILTNER. HILLIARD stated that Junior STILTNER
also supplied Nathan STILTNER with cocaine. HILLIARD stated that he used to pick up the
cocaine at the residence of Nathan STILTNER one (1) or two (2) times a month for
approximately six (6) months, at the direction of Junior STILTNER. HILLIARD stated that
Nathan STILTNER lived in the Bristol Heights Trailer Park.

On January 14, 2009, CS-18 was arrested with Raymond HILLIARD in possession of ‘/2
ounce of cocaine. In a subsequent interview, CS-18 stated that he/she had purchased grams of
cocaine from Nathan STILTNER on three (3) or four (4) occasions, the last being almost a year
ago.

On March 15, 2009, telephone number (423) 646-6320 (Kari PARKS) engaged in the
following text message communications:

2156 p.m. ~ (PARKS to Jeff HOWELL) “Hey baby call me.”

4128 p.m. - (PARKS to Ryan HILTON) “Did u find nething?”

4:29 p.m. - (HILTON to PARKS) “None.”

4:30 p.m. - (PARKS to HILTON) “K 1 think 1 found some.”

4:30 p.m. - (HOWELL to PARKS) “U can go get em. Ifu call right back. Call Nate

274-41 77.”

5135 p.m. - (PARKS to HOWELL) “1 got a couple. 1 will keep u a half one cause 1 gotta

give Bob a half one too. Cause he helped me out.”

9:59 p.m. ~ (PARKS to Nathan STILTNER) “Hey she said not tonight so 1 don ’t know if

she just don ’t have here n has to go get or what. T hat ’s how 1 took it. 1 will let u know in

the am honey.”

Based on my training and experience, 1 believe that the preceding text message
communications between members of` the Shannon HUTSON Drug Trafficking Organization
were in furtherance of drug trafficking activities. 1 believe that Kari PARKS ran out of her
supply of OxyContin and attempted to obtain pills from J eff HOWELL and Ryan HILTON, 1
believe that eventually, HOWELL discovered that Nathan STILTNER had a supply of pills and
told PARKS to call STILTNER.

On June 25, 2009, CS-24 was interviewed in Blountville, TN. CS-24 stated that he/she
had accompanied Brian White to the Bristol Heights Trailer Park to purchase crack cocaine from
Nate LNU (Last Name Unknown) on several occasions. CS-24 stated that they had purchased

29

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 30 of 39 Pageid#: 2035

$50.00 to $100.00 amounts of crack cocaine from Nate LNU until approximately one (1) month
ago. CS-24 stated that Nate LNU was a relative of Junior STILTNER.

On June 30, 2009, Shannon HUTSON and Jonathan LEONARD were arrested in
possession of 1,827 dosage units of 80 mg OxyContin, 1,333 dosage units of Lortab, and
$7,280.00 U.S. Currency. Saved in the Contacts List of HUTSON’s cellular telephones was
telephone number (423) 274-4177 under the name “Nathan”, and telephone number (423) 421-
6740 under the name “Nath”. Saved in the Contacts List of LEONARD’s cellular telephone was
telephone number (423) 274-4177 under the name “Nathan”.

On July 27, 2009, Kari PARKS was arrested in Blountville, TN. Saved in the Contacts
List of PARKS’ cellular telephones were telephone numbers (423) 646-1398 and (423) 274-4177
under the name “Nathan”, and telephone numbers (423) 217-3267 and (423) 383-3469 under the
name “Nate”.

On August 19, 2009, Nathan STILTNER and Brandi TUELL were arrested in Bristol, TN
in possession of 70 dosage units of OxyContin and marijuana Subsequent to her arrest, Brandi
TUELL was interviewed in Blountville, TN. TUELL stated that she and Nathan STILTNER
were engaged to be married and had children together. TUELL stated that sometime in 2008,
April (Shannon) HUTSON approached STILTNER to distribute cocaine for her (HUTSON).
TUELL stated that STILTNER sold cocaine for HUTSON for approximately five (5) or six (6)
months. TUELL stated that HUTSON informed STILTNER that her “Mexican friend” had been
arrested, and began supplying STILTNER and TUELL with OxyContin to sell. TUELL stated
that she and STILTNER obtained approximately forty (40) dosage units of 40 mg and 80 mg
OxyContin on a weekly basis for approximately three (3) months, until HUTSON’s arrest in
June, 2009. TUELL stated that she and STILTNER paid 855.00 per pill from HUTSON, and
normally delivered $1,400.00 to HUTSON when replenishing their supply.

Pursuant to his arrest, Nathan STILTNER was interviewed in Blountville, TN.
STILTNER stated that he and TUELL were users of OxyContin STILTNER stated that for four
(4) or five (5) months in 2008, he was a user of cocaine, STILTNER stated that he had never
sold OxyContin or cocaine, STILTNER stated that his source of supply for cocaine was his
cousin, Junior STILTNER, and Rhonda HUTSON, STILTNER stated that he purchased only
$100.00 to $200.00 worth of cocaine at a time. STILTNER stated that Shannon HUTSON had
sold OxyContin to him for personal use, but never cocaine.

According to telephone toll analysis, the telephones subscribed to and/or utilized by
Nathan STILTNER (423-274-4177, 423-646-1398, 423-217-3267 and 423-383-3469) attempted
to contact Shannon HUTSON’s cellular telephones approximately 26 times between 06/01/2009
and 06/30/2009. The telephones subscribed to and/or utilized by Nathan STILTNER attempted
to contact Kari PARKS’ cellular telephones approximately 12 times between 03/15/2009 and
03/22/2009.

A criminal history check on Nathan STILTNER revealed the following arrests: 2005 -
Aggravated Assault (2x); 2008 - Possession of a Prohibited Weapon; 2009 - Possession of a
Controlled Substance.

30

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 31 of 39 Pageid#: 2036

A criminal history check on Brandi TUELL revealed no prior arrests.
Joshua Lee SNYPES

On May 14, 2008, Chucky HENSLEY was interviewed in Blountville, TN. HENSLEY
provided detailed information regarding Rhonda HUTSON, Shannon HUTSON, and Jr.
STILTNER. HENSLEY stated that customers of the Drug Trafficking Organization included
Jeff HOWELL, Robert PARKS, Josh SNYPES, Sam HUTSON, Bryan PROFFITT, and others.

On December 1, 2008, Brandon KINCER was interviewed in Bristol, TN. KINCER
stated that Josh SNYPES was a cocaine distributor, and a son of Shannon HUTSON, KINCER
stated that he had purchased “8 balls” (1/8 ounce) of cocaine and eight (8) to ten (10) dosage
units of OxyContin from SNYPES at a time. KINCER stated that he was with SNYPES when
SNYPES met with his sister, Kari PARKS, to obtain OxyContin and cocaine. KINCER stated
that SNYPES received OxyContin from PARKS, but she would not part with the cocaine as she
was “waiting on more”.

On January 14, 2009, Raymond HILLIARD was arrested in Blountville, TN in
possession of cocaine, In a subsequent interview, HILLIARD stated that he had heard that
“Josh”, a son of Shannon HUTSON, was a cocaine distributor for HUTSON. HILLIARD stated
that he had heard that Josh’s cocaine was better quality than that sold by Junior STILTNER.

On June 25, 2009, CS-24 was interviewed in Blountville, TN. CS-24 stated that Josh
LNU (Last Name Unknown) was the brother to Kari LNU, who was the source of supply for
Carrie JARRETT. CS-24 stated that Josh LNU moved in with Junior STILTNER and Rhonda
LNU, who supplied him (Josh LNU) with drugs. CS-24 stated that Josh LNU recently got out of
drug rehab. (According to information received from jail calls, text messages, and surveillances,
J osh SNYPES returned home from a drug rehabilitation program in Chattanooga on March 29,
2009.)

On July 7, 2009, CS~25 was interviewed in Abingdon, VA. CS~25 stated that Josh
SNYPES, Kari PARKS’ brother, was a distributor of marijuana. CS~25 stated that on one (1)
occasion, he/she had observed SNYPES in possession of % pound of marijuana. CS-25 stated
that SNYPES offered to sell some of the marijuana to him/her. CS-25 had heard that SNYPES
“shot up” cocaine,

On July 29, 2009, Kari PARKS was arrested in Blountville, TN. PARKS stated that she
was addicted to OxyContin and used fifteen (15) to twenty (20) pills a day. PARKS stated that
her brother, J osh SNYPES, was the person who introduced her to OxyContin PARKS stated
that SNYPES used “needle dope” and OxyContin

On November 30, 2009, Joshua SNYPES was arrested in Sullivan County, TN following
a high speed pursuit with Sherist Deputies. SNYPES had just left a residence which he was
attempting to burglarize, operating a red Jeep registered to Matthew COX. Inside the vehicle,
officers discovered a spoon containing a white powdery substance, and subsequently charged
SNYPES with possession of drug paraphernalia and burglary tools.

31

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 32 of 39 Pageid#: 2037

On December 1, 2009, SNYPES placed several telephone calls from the Sullivan County
Jail. SNYPES told Freddie Parks (father of Kari PARKS) that he (SNYPES) “got some for old
Rodney” and made $10.00 a piece on them. In a subsequent telephone call, SNYPES told
Danielle LNU (Last Name Unknown) that he (SNYPES) “ate ten” while the cops were chasing
him. Based on my training and experience, and my knowledge of this drug trafficking
organization 1 believe that SNYPES was referring to dosage units of OxyContin SNYPES told
Danielle LNU that he ran from the police because the Jeep was registered to COX, and COX had
“all that hot stuff up there”, and SNYPES did not want the cops going to COX’s residence.

A criminal history check on Josh SNYPES revealed no prior arrests.
Robert Allen PARKS

On January 15, 2008, Robert PARKS placed a telephone call from the Sullivan County
Jail to his mother, Shannon HUTSON. PARKS stated that he had been threatened by Chris
Hutson because of the fifteen (15) Lortabs that he stole from Rhonda HUTSON. Shannon
HUTSON told PARKS that it was more than fifteen (15).

On March 13, 2008, Carrie Evelyn JARRETT was interviewed in Bristol, TN.
JARRETT stated that Shannon PARKS (HUTSON) was a cocaine supplier to Bobby NELSON,
JARRETT stated that HUTSON had a daughter named Kari PARKS and a son named Robert
PARKS who distributed cocaine for HUTSON.

On May 14, 2008, Chucky HENSLEY was interviewed in Blountville, TN. HENSLEY
provided detailed information regarding Rhonda HUTSON, Shannon HUTSON, and Junior
STILTNER. HENSLEY stated that customers of the Drug Trafficking Organization included
Jeff HOWELL, Robert PARKS, Josh SNYPES, Sam HUTSON, Bryan PROFFI'IT, and others.

On July 1, 2008, Robert PARKS placed a telephone call from the Sullivan County Jail to
Kari PARKS. Robert spoke with an unknown male about sending marijuana in a package that
Kari was sending The unknown male told Robert that he would send ‘/z nickel.

On July 1, 2008, Robert PARKS placed a telephone call from the Sullivan County Jail to
Shannon HUTSON, PARKS told HUTSON to tell Kari (PARKS) to get him some pot if she
could.

On July 4, 2008, Robert PARKS placed a telephone call from the Sullivan County Jail to
Kari PARKS. Robert and Kari spoke about an inmate who smuggled drugs into the jail for Kari.

On December 1, 2008, Brandon KINCER was interviewed in Bristol, TN. KINCER
stated that Robert PARKS was a cocaine distributor, and a son of Shannon HUTSON. KINCER
stated that he had purchased % ounces of cocaine from PARKS on approximately seven (7)
different occasions. KINCER stated that these transactions occurred at PARKS’ trailer located
on Weaver Pike in Bristol, TN.

On January 14, 2009, CS-18 was arrested with Raymond HILLIARD in possession of 1/2

32

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 33 of 39 Pageid#: 2038

ounce of cocaine. In a subsequent interview, CS-l 8 stated that Robert PARKS had told him/her
that PARKS’ mother dealt in quantities of cocaine.

A criminal history check on Robert PARKS revealed the following arrests: 2006 -
Simple Possession, Possession of Drug Paraphernalia; 2007 - Possession of Marijuana, Evading
Arrest.

Kari Nicole PARKS

On June 8, 2005, Kari PARKS was arrested in Bristol, TN in possession of
approximately 2 ounces of powder cocaine, 1 gram of crack cocaine, pills identified as Xanax
and Lortab, drug paraphernalia, and $827.00 in U.S. Currency. Approximately 22 grams of
powder cocaine was in a plastic baggie. The remaining powder cocaine was packaged in 13
separate baggie corners, each weighing approximately 3.5 grams (1/8 ounce / “8 ball”).

On August 9, 2005, PARKS was arrested in Bristol, TN in possession of approximately
1/8 ounce of cocaine and drug paraphernalia.

On February 8, 2008, CS-4 was interviewed in Bristol, TN. CS-4 stated that
approximately three (3) years ago, he/she had an affair with Kari PARKS. CS-4 stated that
he/she purchased small amounts of cocaine from PARKS during their relationship CS-4 stated
that he/she observed PARKS in possession of approximately five (5) to six (6) ounces of cocaine
while they were at the trailer of Bobby NELSON,

On February 26, 2008, Matthew BRANCH was interviewed in Bristol, TN. BRANCH
stated that from June, 2007 to December, 2007, he was the live-in boyfriend of Kari PARKS.
BRANCH stated that he lived on Neeley Dr. in Blountville, TN with PARKS and her mother,
Shannon HUTSON. BRANCH stated that he was with PARKS everyday while she distributed
cocaine to her customers. BRANCH stated that every night he helped PARKS count the days’
proceeds which usually added up to $7,000.00 to $8,000.00. BRANCH stated that PARKS
purchased the cocaine from HUTSON for $800.00 per ounce and sold it for $1,100.00 per ounce.

On March 13, 2008, Carrie Evelyn JARRETT was interviewed in Bristol, TN.
JARRETT stated that she had been with Mike TAYLOR when he took delivery of cocaine from
Kari PARKS at the International House of Pancakes located at exit 7 in Virginia, JARRETT
stated that she had been at the residence of Bobby NELSON when he took delivery of cocaine
from PARKS on two (2) occasions.

On March 22, 2008, Paul Thomas was shot and killed by Sullivan County, TN Deputy
Kevin Morrell following a high speed chase. Seized from Thomas’ vehicle following the
incident were approximately one (1) ounce of cocaine and three cellular telephones. Contained
in one cell phone were the following text messages from telephone number (423) 646-6320
(saved in the Contacts List under “K”):

March 19, 2008 at 7147 p.m. - “Don ’t let the money leave your side baby, cause you
never know about people. 1 love you. ”

33

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 34 of 39 Pageid#: 2039

March 20, 2008 at 1138 a.m. - “Please call me. 1 got it figured out. T here isn ’t that
much gone baby, but please call me Paul. 1 love you. ”

Based on my training and experience, 1 believe that the preceding text message
communications between Kari PARKS and Paul Thomas were in reference to missing drug
proceeds.

On May 14, 2008, Chucky HENSLEY was interviewed in Blountville, TN. HENSLEY
stated that Kari PARKS sold ounces of cocaine that she obtained from her mother, Shannon
(HUTSON). HENSLEY stated that Shannon HUTSON, Rhonda HUTSON, and Kari PARKS
utilized several different cellular telephones to communicate HENSLEY stated that Shannon
and Rhonda HUTSON utilized the text messaging service on their cell phones to communicate.

On May 22, 2008, CS-6 was interviewed in Abingdon, VA. CS-6 stated that he/she
purchased cocaine from Matthew BRANCH in Blountville, TN on several occasions. CS-6
stated that BRANCH was supplied the cocaine by Kari LNU, who lived near Camp Placid in
Blountville, TN (Camp Placid is located within ‘A mile of 212 Neeley Dr., Blountville, TN). CS-
6 stated that he/she purchased % to ‘/z ounce of cocaine that came from Kari LNU on a daily
basis for approximately two (2) months. CS-6 stated that Kari LNU delivered cocaine to
Caroline Steele in Abingdon, VA in exchange for Roxicet tablets. CS-6 stated that Kari LNU
had to get the cocaine from her mother or her mother’s boyfriend, who kept it locked in a safe.

On June 5, 2008, CS-9 was interviewed in Bristol, VA. CS-9 stated that during the
summer of 2007, he/she began to purchase ‘/z ounce to one (1) ounce of cocaine from Paul
Thomas on a daily basis. CS-9 stated that Thomas was supplied cocaine by Kari PARKS. CS-9
stated that the first time he/she met PARKS was when PARKS delivered a “freezer bag” full of
cocaine to Thomas in Bristol, TN. CS-9 stated that he/she and Thomas had to make specific
appointments with PARKS in order to obtain the cocaine, as the cocaine was kept in a safe
somewhere where PARKS did not have unrestricted access.

On June 26, 2008, Michael Dale TESTER was interviewed in Blountville, TN. TESTER
stated that he worked in conjunction with Kari PARKS and Paul Thomas to distribute drugs.
TESTER stated that he supplied the methamphetamine, PARKS supplied the cocaine, and
Thomas supplied the marijuana TESTER stated that he, PARKS, and Thomas traded drugs with
each other in order to supply each other’s drug customers with what they wanted.

On July 4, 2008, Robert PARKS placed a telephone call from the Sullivan County Jail to
Kari PARKS. Robert and Kari spoke about an inmate who smuggled drugs into the jail for Kari.

On July 10, 2008, CS-10 was interviewed in Blountville, TN. CS-10 stated that Kari
PARKS and her brothers, J osh and Adam, distributed cocaine for their mother, Shannon
HUTSON PARKS. CS-lO stated that Kari PARKS had to wait on her mother before delivering
cocaine.

CS-10 stated that his/her spouse and Michael TESTER purchased cocaine from PARKS.
CS-10 stated that he/she observed text messages from PARKS notifying TESTER when she was
ready to deliver the cocaine, CS-lO stated that his/her spouse and TESTER had been obtaining

34

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 35 of 39 Pageid#: 2040

approximately '/z ounce of cocaine from PARKS every other week for approximately four (4) to
five (5) months.

On July 11, 2008, Sabra Hilliard placed a telephone call from the Sullivan County Jail to
Kari PARKS. PARKS told Hilliard that she (PARKS) would get Hilliard out of jail if she had
any money. PARKS stated that all of her money had been set up on pills,

On August 5, 2008, CS-12 was interviewed in Roanoke, VA. CS-12 stated that he/she
dated Paul Thomas from June, 2007 until October, 2007. CS-12 stated that during their
relationship, Thomas was a multi-ounce cocaine distributor for Kari LNU, CS-12 stated that
Thomas purchased cocaine from Kari LNU on a daily basis, ounces at a time. CS-12 stated that
Thomas took the cocaine to his residence, located on Delaney St. in Bristol, VA, and packaged
the cocaine for distribution CS-12 stated that Thomas distributed the cocaine in the areas of
Bristol, VA, Abingdon, VA, and Northeast Tennessee. CS-12 stated that the most cocaine
he/she observed in Thomas’ possession at one time was six (6) ounces. CS-12 proceeded to give
directions to 212 Neeley Dr., Blountville, TN as Kari LNU’s residence.

On September 18, 2008, CS-13 arranged to purchase $200.00 worth of crack cocaine
from Lloyd LEONARD in Piney Flats, TN. The purchase took place in the women’s restroom of
the McDonald’s. The CS did not know the female who delivered the crack cocaine, but
positively identified Kari PARKS from a photo lineup as the person who sold the cocaine to the
CS.

On December l, 2008, Brandon KINCER was interviewed in Bristol, TN. KINCER
stated that J osh SNYPES was a cocaine distributor, and a son of Shannon HUTSON. KINCER
stated that he was with SNYPES when SNYPES met with his sister, Kari PARKS, to obtain
OxyContin and cocaine, KINCER stated that SNYPES received OxyContin from PARKS, but
she would not part with the cocaine as she was “waiting on more”.

On December 20, 2008, Kari PARKS was arrested in Blountville, TN for Driving Under
the Influence. Pursuant to a search of her vehicle (Silver 2003 Honda Pilot, TN license 776
QPT), officers seized drug paraphernalia and a spoon containing white powder residue which
tested positive for cocaine.

On January 29, 2009, surveillance was conducted on Kari PARKS. Surveillance units
followed PARKS to an apartment complex located at 3616 N. Roan St., Johnson City, TN.
PARKS parked her silver Honda Pilot next to a white Chevrolet Tahoe registered to Daniel
COSBY at that address, Apt., #4, Approximately ten (10) minutes later, PARKS exited Apt. #4
and was followed to a Chevron Gas Station/Carwash where she parked in a carwash stall.
Approximately ten (10) minutes later, an unknown white male, subsequently identified as Ryan
HILTON, arrived in a blue Nissan Maxima and entered the passenger Side of PARKS’ vehicle.
Approximately five (5) minutes later, HILTON exited PARKS’ vehicle and departed in the
Maxima. Based on my training and experience, 1 believe that the aforementioned behavior was
consistent with a drug transaction

On February 2, 2009, surveillance was conducted on Kari PARKS. Surveillance units

35

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 36 of 39 Pageid#: 2041

followed PARKS to the parking lot of the Interstate Bowl located at 2178 Linden Dr., Bristol,
VA. Surveillance observed PARKS meet with an unidentified white male (subsequently
identified as Bobby Lee WHITE) who entered the passenger side of her silver Honda Pilot.

After approximately two (2) minutes, WHITE exited the Honda Pilot and entered the passenger
side of a black Chevrolet Blazer. PARKS departed the area at this time. After approximately
one (1) minute, WHITE exited the Blazer and entered the passenger side of a silver Cadillac,
which then departed. Surveillance was maintained on the Blazer and observed the occupant
engage in behavior consistent with intravenous drug use. Based on my training and experience, 1
believe that the aforementioned behavior was consistent with a drug transaction

On February 12, 2009, surveillance was conducted on Kari PARKS. Surveillance units
followed PARKS to the aforementioned Chevron Gas Station/Carwash where she parked in a
carwash stall. Approximately five (5) minutes later, surveillance observed Ryan HILTON arrive
in his Nissan Maxima and enter the passenger side of PARKS’ vehicle (silver Honda Pilot).
After approximately five (5) minutes, HILTON exited PARKS’ vehicle and departed in his
Maxima. Based on my training and experience, 1 believe that the aforementioned behavior was
consistent with a drug transaction

On March 5, 2009, CS-19 was interviewed in Bristol, VA. CS-19 stated that in 2005 or
2006, he/she purchased methamphetamine from Joe Tranum at the Scottish Inn in Bristol, TN.
CS-19 stated that Kari PARKS was staying with Tranum at the time, and she was selling
cocaine, CS-l9 stated that on one occasion, he/she observed PARKS with a shoebox containing
chunks of cocaine. CS-19 stated that he/she observed PARKS “cook” some cocaine into crack
cocaine by utilizing a glass cigar vile and Listerine. CS-19 stated that PARKS referred to her
crack cocaine as “Listerine Rocks”.

On March 27, 2009, a consent search was conducted by the Washington County (TN)
Sheriffs Office at 3616 N. Roan St., Apt. #4, Johnson City, TN, residence of Daniel Anthony
COSBY. Pursuant to the consent search, detectives seized approximately 150 dosage units of 80
mg OxyContin, ‘/2 ounce of marijuana, $12,810.00 U.S. Currency, three (3) handguns, two (2)
boxes of ammunition, drug ledgers, and miscellaneous indicia.

Pursuant to the consent search, COSBY was interviewed in Johnson City, TN. COSBY
stated that he had been purchasing approximately 200 OxyContin pills biweekly from Shannon
HUTSON for approximately one (1) to 1‘/2 years. COSBY stated that he was paying HUTSON
$50.00 per pill, which was $10,000.00 per transaction COSBY stated that he had been
supplying Kari PARKS with approximately ten (10) OxyContin pills per day for the last three (3)
months, because PARKS and HUTSON got into a fight and HUTSON would no longer supply
PARKS.

On April 17, 2009, Lloyd LEONARD was interviewed in Bristol, VA. LEONARD
stated that Kari PARKS was a cocaine distributor for her mother, Shannon HUTSON,
LEONARD stated that he used to stay with PARKS in motel rooms, alternating between
Tennessee and Virginia. LEONARD stated that he purchased one (1) ounce of cocaine from
PARKS every day for approximately one (1) or two (2) months. LEONARD stated that he had
observed PARKS in possession of vacuum-sealed bags containing approximately 1/4 kilogram of
cocaine, LEONARD stated that he traveled with PARKS to deliver cocaine to her customers.

36

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 37 of 39 Pageid#: 2042

LEONARD stated that PARKS communicated with her drug customers by utilizing the text
messaging service on her cellular telephone. LEONARD stated that PARKS’ cellular telephone
number was 423-646-6320.

On May 1, 2009, CS-21 was interviewed in Bristol, VA. CS-21 stated that Kari PARKS
was a cocaine and OxyContin distributor who lived with her mother, Shannon. CS-21 stated that
he/she was with Adam Hughes when Hughes obtained cocaine from PARKS. CS-21 stated that
Hughes received approximately ‘/z ounce of cocaine a couple times a week for approximately one
(1) year from PARKS. CS-21 stated that PARKS’ cellular telephone number was (423) 646-
6320.

On June 30, 2009, Shannon HUTSON and Jonathan LEONARD were arrested in
possession of 1,827 dosage units of 80 mg OxyContin, 1,333 dosage units of Lortab, and
$7,280.00 U.S. Currency. Saved in the Contacts List of HUTSON’s cellular telephones was
telephone number (423) 646-6320 under the name “Kari”, and telephone number (423) 534-4518
under the name “K”. Saved in the Contacts List of LEONARD’s cellular telephone was
telephone number (423) 534-4518 under the name “Kari”.

On July 7, 2009, CS-25 was interviewed in Abingdon, VA. CS-25 stated that Rhonda
and Shannon HUTSON were large scale distributors of OxyContin, cocaine, and marijuana. CS-
25 stated that he/ she had never purchased drugs directly from the HUTSON’s, but had made
purchases from Shannon HUTSON’s daughter, Kari PARKS. CS-25 stated that he/she
purchased approximately 1/ 16 ounce of cocaine from Kari PARKS on one (1) or two (2)
occasions, and that the cocaine had come from Shannon HUTSON,

On July 29, 2009, Kari PARKS was arrested in Blountville, TN. PARKS stated that she
was currently addicted to OxyContin and used fifteen (15) to twenty (20) pills a day. PARKS
stated that when OxyContin was unavailable, she used heroin PARKS stated that She sold
twelve (12) OxyContins that day for $80.00 apiece. PARKS stated that she hated doing the same
thing to other people that she was doing to herself.

PARKS stated that during the summer of 2005, she sold approximately one (1) ounce of
cocaine per week for Jerry LNU (Last Name Unknown).

A criminal history check on Kari PARKS revealed the following arrests: 2005 -
Possession of Cocaine for Resale, Possession of Drug Paraphernalia, Possession of Schedule 11
for Resale, Possession of a Controlled Substance; 2008 - Possession of Schedule II Drug,
Possession of Drug Paraphernalia, DUI; 2009 - Violation of Community Corrections.

Michael Dale TESTER

On June 26, 2008, Michael Dale TESTER was interviewed in Blountville, TN. TESTER
stated that he was supplied cocaine, OxyContin, Lortab, and other drugs by Rhonda HUTSON.
TESTER stated that he went to HUTSON two (2) to three (3) times a week for several months
for drugs that he then supplied to his work crew. TESTER stated that he supplied his work crew
with whatever drugs they requested

TESTER stated that he sometimes worked in conjunction with Kari PARKS and Paul

37

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 38 of 39 Pageid#: 2043

Thomas to distribute drugs. TESTER stated that he supplied the methamphetamine, PARKS
supplied the cocaine, and Thomas supplied the marijuana, TESTER stated that he, PARKS, and
Thomas traded drugs with each other in order to supply each other’s drug customers with what
they wanted. TESTER stated that he once made $10,000.00 in one (1) night by selling
methamphetamine.

On July 10, 2008, CS-10 was interviewed in Blountville, TN. CS-lO stated that his/her
spouse and Michael TESTER purchased cocaine from Kari PARKS. CS-lO stated that he/she
observed text messages from PARKS notifying TESTER when she (PARKS) was ready to
deliver the cocaine. CS-10 stated that his/her spouse and TESTER had been obtaining
approximately ‘/2 ounce of cocaine from PARKS every other week for approximately four (4) to
five (5) months.

On March 1, 2009, telephone number (423) 646-6320 (Kari PARKS) engaged in the
following text message communications with telephone number (423) 343-2173 (Michael
TESTER):

1109 p.m. - (PARKS) “1m tryn to find something can u get nething my love?”

1109 p.m. - (TESTER) “1al be here iav got some liquid car.”

1112 p.m. - (TESTER) “1av got some liquid oxsi.”

Based on my training and experience, 1 believe that the preceding text message
communications between Kari PARKS and Michael TESTER were in furtherance of drug
trafficking activities, 1 believe that PARKS ran out of drugs and TESTER offered her some
liquid OxyCodone.

On May 1, 2009, CS-21 was interviewed in Bristol, VA. CS-21 stated that Mike
TESTER was a distributor of cocaine for Kari PARKS and her mother, Shannon. CS-21 stated
that he/she met TESTER through Chucky HENSLEY. CS-21 stated that he/she had used
methamphetamine with TESTER,

On July 26, 2009, telephone number (423) 343-2173 (Michael TESTER) engaged in the

following text message communications with telephone number (423) 646-6320 (Kari PARKS):
6141 p.m. - (TESTER) “Whatcha doin. Did you want one of those big ones before 1 am
out? 1 love you.”

On July 27, 2009, telephone number (423) 343-2173 (Michael TESTER) engaged in the
following text message communications with telephone number (423) 646-6320 (Kari PARKS):

12122 p.m. - (TESTER) “Can you find me something? 1 am sick. 1 love you.”

6110 p.m. ~ (TESTER) “1 am sick. Please help me find something Iav got money.”

Based on my training and experience, 1 believe that the preceding text message
communications between Kari PARKS and Michael TESTER were in furtherance of drug
trafficking activities. 1 believe that TESTER offered drugs (OxyContin) to PARKS on one day,
then Wanted her to supply him the next.

On July 27, 2009, Kari PARKS was arrested in Blountville, TN. Saved in the Contacts

38

Case 1:10-Cr-00002-.]P.]-P|\/|S Document 3-1 Filed 01/11/10 Page 39 of 39 Pageid#: 2044

